             Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 1 of 114




                                                                                               8408-11363

                    CIVIL DISTRICT COURT FOR THE PARISH                             EAN

                                         STATE OF LOUISIANA                     .

  NO. 2000-7489                                                                           DIVISION 'B'

                                       THOMAS ANDERSON, ET AL

                                                VERSUS

                                        CITY OF NEW ORLEANS

                                             CROSS-CLAIM

  FILED:
                                                                                      DEPUTY CLERK


                  The cross-claim of NID Corporation against Pan American Life Insurance

  Company represents:

                  1. NID Corporation and Pan American Life Insurance Company are defendants in

  the instant matter.

                  2. NID Corporation has denied any and all liability.

                  3. In the alternative, NID Corporation represents, if it is found responsible to

  plaintiffs in damages, which responsibility is specifically denied, it is entitled to indemnity from

  Pan American Life Insurance Company for any sums which it might be required to pay, and

  including attorney's fees, interest and costs, irrespective of the outcome of the principal demand,

  or alternatively contribution.
                                   I             1

                  4. NID Corporation represent's Pan American Life Insurance Company placed the

  chemicals and substances to which plaintiffs claim exposure in the building and owned the

  chemicals and substances before and after the sale of the property to Poydras Square Associates.

                  5. NID Corporation represents Pan American Life Insurance Company was at

  fault in mpgogerly stgr{ng the ghemicalsgnd subs ancgs tq,which plaintiffs claim exposure,

  failin t r nÅe Íbei       riË to lits sa   Õhe p     dyöaÉÃin other respects to be shown at trial.

                   . HIS for oratiolgt rejents fit           ijliability for damages to plaintiffs, such

  liabilif½is con 541trustiy c riops, techlfi al and/o 1      tive, and any fault on its part is passive




EXHIBIT "B" in globo
           Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 2 of 114




and not active. The fault of Pan American Life Insurance Company is primary and active!

               WHEREFORE, NID Corporation prays that all claims o                           fs g      st

dismissed with prejudice and at their cost. Alternatively, it prays for a judgment over and against

Pan American Life Insurance Company for any damages which it might be required to päÿ,' and

including attorney's fees, interest and costs, irrespective of the outcome of the principal demand,

or alternatively, contribution.




                                              JO         .      WT, JR. (#8164)
                                                    E W        K
                                              1010 Co       Street, Suite 2800
                                              New Orleans, LA 70112
                                              (504) 524-6221 FAX: (504) 529-4106
PLEASE SERVE:
PAN AMERICAN LIFE INSURANCE COMPANY
Through its attorney of record:
Darryl J. Foster
Lemle & Kelleher
601 Poyras Street, 21" Floor
New Orleans, LA 70130




                                                                  CERTIFICATE OF SERV11;E
                                                                   I do hereby certify that a copy of the foregoing
                                                         Pleading has been served upon all parties through their
                                                         attorney(s) of record by:       0 tgsmitting same via
                                                         facsumle, O by hand d/or GTdepositing same in the
                                                         United State          peoperly Ad            and postage
                                                         Pre-pa th        day of      ,. //




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                  CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

NO. 2000-7489                                                                         DIVISION "J"

                                 THOMAS ANDERSON, ET AL.

                                              VERSUS

                               CITY OF NEW ORLEANS, ET AL.

FILED:________________________________                   _______________________________________
                                                                          DEPUTY CLERK

    DEFENDANT PAN-AMERICAN LIFE INSURANCE COMPANY'S UNOPPOSED
          MOTION FOR LEAVE TO FILE THIRD-PARTY PETITION

                Defendant and prospective Third-Party Plaintiff, Pan-American Life Insurance

Company ("PALIC"), respectfully moves this Honorable Court for leave under La. C.C.P. arts.

1033 and 1111 to file a Third-Party Petition against its liability insurers who have a duty to defend

and indemnity PALIC against and for all or part of the Plaintiffs' principal demands; and in support,

PALIC shows as follows:

                                                  1.

                PALIC tendered Plaintiffs' claims asserted in the principal demand to its liability

insurers. In response, the insurers wrongfully failed or refused to perform fully their obligations

under their insurance policies, including by disclaiming coverage or by asserting improper

reservations of rights.

                                                 2.

                Although PALIC denies all liability to Plaintiffs in the principal demand, should

PALIC be found legally liable for any of the Plaintiffs' claims, PALIC seeks to recover via

incidental demand defense and indemnity for such claims from one or more of its insurers under

the liability policies those insurers issued to PALIC.

                                                 3.

               PALIC is also filing an Unopposed Motion to Sever for Separate Trial Insurance

Coverage Actions Asserted in Third-Party Petition.          Assuming that motion is granted, the

requested leave to file PALIC's third-party petition will not retard the progress of the principal

action.
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 4 of 114




                                                 4.

               Undersigned counsel has conferred with counsel of record for all parties remaining

in the proceeding, i.e., Plaintiffs and NID Corporation, and confirmed that those parties consent to

PALIC filing its Third-Party Petition. Accordingly, this motion is presented to the Court as

unopposed.

               WHEREFORE, Pan-American Life Insurance Company prays that this unopposed

motion for leave be granted and that its proposed Third-Party Petition be accepted for filing.

                                                Respectfully submitted,


                                               Wayne J. Lee (La. Bar No. 07916)
                                               Michael Q. Walshe, Jr. (La. Bar No. 23968)
                                               Emily A. Hickman (La. Bar No. 39909)
                                               STONE PIGMAN WALTHER WITTMANN LLC
                                               909 Poydras Street, Suite 3150
                                               New Orleans, Louisiana 70112
                                               Telephone: (504) 581-3200
                                               wlee@stonepigman. com
                                               mwalshe@stonepigman. com
                                               ehickman@stonepigman. com

                                               Attorneys for Third-Party Plaintiff,
                                               Pan-American Life Insurance Company
                                               (for the purpose of the insurance claims
                                               asserted in its third-party petition)


                                CERTIFICATE OF SERVICE

               I hereby certify that a copy of the above and foregoing Unopposed Motion for

Leave to File Third-Party Petition has been served upon all counsel of record by email and/or by

placing same in the United States mail, postage prepaid and properly addressed, this 5th day of

April, 2024.




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                CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                   STATE OF LOUISIANA

NO. 2000-7489                                                               DIVISION "J’

                               THOMAS ANDERSON, ET AL.

                                           VERSUS

                             CITY OF NEW ORLEANS, ET AL.

FILED:________________________________
                                                                    DEPUTY CLERK

                                           ORDER

              Considering the foregoing Defendant Pan-American Life Insurance Company's

Unopposed Motion for Leave to File Third-Party Petition',

              IT IS ORDERED that the motion is granted;

              IT IS FURTHER ORDERED that the request leave is granted for its filing and

that Pan-American Life Insurance Company's proposed Third-Party Petition be accepted and

deemed properly filed.

              New Orleans, Louisiana, this___ day of April, 2024.




                                                                    JUDGE




                                                                                   5439095v. 1
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                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

NO. 2000-7489                                                                     DIVISION "J"

                                THOMAS ANDERSON, ET AL.

                                            VERSUS

                              CITY OF NEW ORLEANS, ET AL.

FILED:_____________________________                  ____________________________________
                                                                    DEPUTY CLERK

                                 THIRD-PARTY PETITION

               Pan-American Life Insurance Company ("PALIC"), as Third-Party Plaintiff, files

this third-party petition against its liability insurers who have a duty to defend and indemnify

PALIC against and for all or part of the Plaintiffs' principal demands, representing upon

information and belief as follows:

                                                1.

               Made Third-Party Defendants are:

               (a)    Century Indemnity Company, as successor to CCI Insurance Company, as

                      successor to Insurance Company of North America ("Century"), a

                      Pennsylvania corporation with its principal place of business in

                      Pennsylvania, which at all relevant times was authorized to do and in fact

                      transacting business in the State of Louisiana;

              (b)     ACE Property & Casualty Insurance Company ("ACE P&C"), a

                      Pennsylvania Corporation with its principal place of business in

                      Pennsylvania, which at all relevant times was authorized to do and in fact

                      transacting business in the State of Louisiana;

              (c)     Westchester Fire Insurance Company for itself and with respect to policies

                      notated from International Insurance Company ("Westchester"), a

                      Pennsylvania corporation with its principal place of business in

                      Pennsylvania, which at all relevant times was authorized to do and in fact

                      transacting business in the State of Louisiana;
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    (d)   ACE Fire Underwriters Insurance Company formerly known as CIGNA

          Fire Underwriters Insurance Company formerly known as Aetna Fire

          Underwriters    Insurance       Company   ("ACE Fire"),     a Pennsylvania

          corporation with its principal place of business in Pennsylvania, which at

          all relevant times was authorized to do and in fact transacting business in

          the State of Louisiana;

    (e)   Federal Insurance Company ("Federal"), an Indiana corporation with its

          principal place of business in New Jersey, which at all relevant times was

          authorized to do and in fact transacting business in the State of Louisiana;

    (f)   Great Northern Insurance Company ("Great Northern"), an Indiana

          corporation with its principal place of business in New Jersey, which at all

          relevant times was authorized to do and in fact transacting business in the

          State of Louisiana;

    (g)   CNA Financial Corporation ("CNA"), a Delaware corporation with its

          principal place of business in Illinois, which at all relevant times was

          authorized to do and in fact transacting business in the State of Louisiana;

    (h)   American Casualty of Reading PA ("American Casualty"), a Pennsylvania

          corporation with its principal place of business in Illinois, which at all

          relevant times was authorized to do and in fact transacting business in the

          State of Louisiana;

    (i)   Transcontinental Insurance Company ("Transcontinental"), a New York

          corporation with its principal place of business in Illinois, which at all

          relevant times was authorized to do and in fact transacting business in the

          State of Louisiana;

    (j)   American Intenation Group, Inc. ("AIG"), a Delaware corporation with its

          principal place of business in New York, which at all relevant times was

          authorized to do and in fact transacting business in the State of Louisiana;




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               (k)     Lexington Insurance ("Lexington"), a Massachusetts corporation with its

                       principal place of business in Massachusetts, which at all relevant times was

                       authorized to do and in fact transacting business in the State of Louisiana;

               (1)     Travelers Casualty and Surety Company ("Travelers"), a Minnesota

                       corporation with its principal place of business in Connecticut, which at all

                       relevant times was authorized to do and in fact transacting business in the

                       State of Louisiana; and

               (m)     Gulf International ("Gulf), upon information and belief, a Connecticut

                       corporation with its principal place of business in Missouri, which at all

                       relevant times was authorized to do and in fact transacting business in the

                       State of Louisiana.

Century, ACE P&C, Westchester, ACE Fire, Federal, and Great Northern will be referred to

collectively as the "Brandywine Defendants"; CNA, American Casualty, and Transcontinental will

be referred to collectively as the "CNA Defendants"; AIG and Lexington will be referred to

collectively as the "AIG Defendants"; and Travelers and Gulf will be referred to collectively as

the "Travelers Defendants." The Brandywine Defendants, CNA Defendants, AIG Defendants, and

Travelers Defendants are sometimes referred to collectively as "Third-Party Insurer Defendants"

or each/any individually as a "Third-Party Insurer Defendant".

                                                 2.

               On May 16, 2000, Plaintiffs initiated the principal demands herein against the City

of New Orleans ("the City") as a putative class action by filing their Petition for Damages asserting

claims seeking damages for alleged exposures to dangerous substances allegedly stored in the

basement of a building located at 2400 Canal Street in New Orleans, Louisiana referred to as the

City Hall Annex (the "Property"). Plaintiffs alleged that the exposure to the dangerous substances

started in 1982 and continued until December 1999.

                                                 3.

               During 2001, Plaintiffs filed their First Amended Petition and Second Amended

Petition naming PALIC as defendant and seeking damages for alleged exposure to dangerous

substances allegedly stored in the Property.

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                                                 4.

                Plaintiffs filed their Third Amended Petition on or about June 22, 2005, naming

Poydras Square, Inc. ("PSI") and New Orleans Centre Associates ("NOCA") as additional

defendants from which Plaintiffs seek damages for alleged exposure to dangerous substances

allegedly stored in the Property.

                                                 5.

                On September 27, 2019, Plaintiffs filed their Fourth Amended Petition herein

naming "Poydras Square Properties, LLC (NID Corporation)" as an additional defendant from

which Plaintiffs seek damages for alleged exposure to dangerous substances allegedly stored in

the Property.

                                                 6.

                Plaintiffs allege in their principal demand, among other things and subject to their

specific wording, that PALIC is liable to pay damages caused by means of an accident and/or

continuous or repeated exposures to conditions, which resulted in Plaintiffs' alleged bodily injuries

due to alleged exposures to toxic materials during the time period of August 10, 1982 through

December 9, 1999.

                                                 7.

                PALIC denies liability for Plaintiffs' alleged claims and damages and reiterates and

reavers by reference all of its denials and defenses to same set forth in its Defendant Pan-American

Life Insurance Company's Answer and Affirmative Defenses to Plaintiffs' Fourth Amended

Petition filed herein. To the extent PALIC is liable for Plaintiffs' claims herein, however, the

Third-Party Insurer Defendants owe PALIC indemnity therefore or payment thereof in accordance

with the terms of their respective liability insurance policies issued to PALIC.

                                                 8.

                The Brandywine Defendants issued various liability insurance policies, which,

subject to their terms, conditions, limitations and exclusions, insure PALIC and pursuant to which,

if PALIC is found liable to Plaintiffs, the Brandywine Defendants are or will be obligated to

indemnify PALIC (and/or be liable to Plaintiffs directly) for all or part of Plaintiffs' principal




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demands herein against PALIC, including without limitation the following (the "Brandywine

Policies"):

                    (a)    Aetna Policy No. SMP02-15-79 with a policy period of May 26,
                           1980 to December 26, 1983;

                    (b)    Aetna Policy No. OBPD08585660 with a policy period of May 26,
                           1983 to May 26, 1986;

                    (c)    ACE Policy No. 3529-36-20 with a policy period of January 1, 1994
                           to January 1, 1995;

                    (d)    ACE Policy No. 3529-36-20 73197587 with a policy period of
                           January 1, 1995 to January 1, 1996;

                    (e)    ACE Policy No. 3529-36 -20 with a policy period of January 1,1996
                           to January 1, 1997;

                    (f)    Great Northern Policy No. 3529-36-20 with a policy period of
                           January 1, 1997 to January 1, 1998;

                    (g)    Great Northern Policy No. 3529-36-20 with a policy period of
                           January 1, 1998 to January 1, 1999;

                    (h)    Great Northern Policy No. 3529-36-20 with a policy period of
                           January 1, 1999 to January 1, 2000;

                    (i)    Great Northern Policy No. 3529-36-20 with a policy period January
                           1, 2000 to January 1, 2001;

                    (j)    ACE Umbrella Policy No. 524-210436-9 with a policy period of
                           January 1, 1992 to January 1, 1993;

                    (k)    ACE Umbrella Policy No. XOO G17120682 with a policy period of
                           January 1, 1994 to December 31, 1995;

                    (1)    Westchester Umbrella Policy No. CUA-102537-0 with a policy
                           period of January 1, 1996 to January 1, 1997;

                    (m)    Westchester Umbrella Policy No. CUA-102537 with a policy period
                           of January 1, 1997 to January 1, 1998;

                    (n)    ACE Excess Policy No. 7909-19-19 with a policy period of May 26,
                           1987 to May 26, 1988;

                    (o)    ACE Excess Policy No. (89) 7909-19-19 with a policy period of
                           May 26, 1988 to May 26, 1989;

                    (p)    ACE Excess Policy No. (90) 7909-19-19 with a policy period of
                           May 26, 1989 to May 26, 1990;

                    (q)    ACE Excess Policy No. (91) 7909-19-19 with a policy period of
                           May 26, 1990 to January 1, 1991;

                    (r)    ACE Excess Policy No. (92) 7909-19-19 with a policy period of
                           January 1, 1991 to January 1, 1992;



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                        (s)     ACE Excess Policy No. (93) 7909-19-19 with a policy period of
                                January 1, 1992 to January 1, 1993;

                        (t)     ACE Excess Policy No. (94) 7909-19-19 with a policy period of
                                January 1, 1993 to January 1, 1994;

                        (u)     ACE Excess Policy No. (95) 7909-19-19 with a policy period of
                                January 1, 1994 to January 1, 1995;

                        (v)     ACE Excess Policy No. (96) 7909-19-19 with a policy period of
                                January 1, 1995 to January I, 1996;

                        (w)     ACE Excess Policy No. (97) 7909-19-19 with a policy period of
                                January 1, 1996 to January 1, 1997; and

                        (x)     ACE Excess Policy No. (98) 7909-19-19 with a policy period of
                                January 1, 1997 to January' 1, 1998.

                                                   9.

                The CNA Defendants issued various liability insurance policies, which, subject to

their terms, conditions, limitations and exclusions, insure PALIC and pursuant to which, if PALIC

is found liable to Plaintiffs, the CNA Defendants are or will be obligated to indemnify PALIC

(and/or be liable to Plaintiffs directly) for all or part of Plaintiffs' principal demands herein against

PALIC, including without limitation the following (the "CNA Policies"):

                        (a)     Policy No. OAC 400215437 with policy periods of May 26, 1986 to
                                May 26, 1987 and June 20, 1986 to June 20, 1987;

                        (b)     Policy No. OAC 400215437 with policy periods of May 26, 1987 to
                                May 26, 1988 and June 20, 1987 to June 20, 1988;

                        (c)     Policy No. OF 400215437 with a policy period of June 20, 1988 to
                                June 20, 1989;

                        (d)     Transcontinental Policy No. OF 400215437 with a policy period of
                                June 20, 1989 to June 20, 1990;

                        (e)     Transcontinental Policy No. OF 6673960 with a policy period of
                                January 1, 1990 to January 1, 1991;

                        (f)     Transcontinental Policy No. OF 6673960 with a policy period of
                                January 1, 1991 to January 1, 1992;

                        (g)     Transcontinental Policy No. OF 6673960 with a policy period of
                                January 1, 1992 to January 1, 1993;

                                                  10.

               The AIG Defendants issued various liability insurance policies, which, subject to

their terms, conditions, limitations and exclusions, insure PALIC and pursuant to which, if PALIC

is found liable to Plaintiffs, the AIG Defendants are or will be obligated to indemnify PALIC


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(and/or be liable to Plaintiffs directly) for all or part of Plaintiffs' principal demand herein against

PALIC, including without limitation the following (the "AIG Policies"):

                       (a)     Lexington Umbrella Policy No. 5101682 with a policy period of
                               May 26, 1987 to May 26, 1988;

                       (b)     Lexington Umbrella Policy No. 5104957 with a policy period of
                               May 26, 1989 to May 26, 1990;

                       (c)     Lexington Umbrella Policy No. 5104983 with a policy period of
                               May 26, 1990 to January 1, 1991;

                       (d)     Lexington Umbrella Policy No. 5107806 with a policy period of
                               January 1, 1991 to January 1, 1992;

                       (e)     Lexington Umbrella Policy No. unknown with a policy period of
                               January 1, 1994 to January 1, 1995; and

                       (f)     AIG Umbrella Policy No. BE 3097117 with a policy period of
                               January 1, 1995 to January 1, 1996.

                                                 11.

               The Travelers Defendants issued various liability insurance policies, which, subject

to their terms, conditions, limitations and exclusions, insure PALIC and pursuant to which, if

PALIC is found liable to Plaintiffs, the Travelers Defendants are or will be obligated to indemnify

PALIC (and/or be liable to Plaintiffs directly) for all or part of Plaintiffs' principal demand herein

against PALIC, including without limitation the following (the "Travelers Policies"):

                       (a)     Gulf Umbrella Policy No. CU6078474 with a policy period of
                               January 1, 1998 to January 1, 1999;

                       (b)     Gulf Umbrella Policy No. CU0283393 with a policy period of
                               January 1, 1999 to January 1, 2000; and

                                                 12.

               The policies issued by the Third-Party Insurer Defendants were in effect during the

period that the Plaintiffs allege they were exposed to harmful chemicals through the date that

PALIC was named as a defendant. Because some or all of the Plaintiffs' allegations of their

principal demands against PALIC, as amended, if proven true, would be covered under the policies

issued by Third-Party Insurer Defendants, Plaintiffs allegations herein triggered the Third-Party

Insurer Defendants' obligations under their respective policies to defend and indemnify PALIC in

this action.




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                                                 13.

                PALIC tendered Plaintiffs' claims to the Third-Party Insurer Defendants.

                                                 14.

               The Brandywine Defendants agreed to pay a portion of PALIC's defense costs but

have asserted a reservation of rights as to coverage, including inter alia the assertion that the claims

are not covered because of the pollution exclusion in the policies. The Brandywine Defendants

also filed a declaratoiy judgment complaint against PALIC in the United States District Court for

the Eastern District of Louisiana (No. 2:24-cv-00584), seeking an order declaring PALIC's rights

under the Brandywine Policies.

                                                 15.

               The CNA Defendants agreed to pay a portion of PALIC's defense costs but have

asserted a reservation of rights as to coverage. CNA has acknowledged that PALIC has produced

secondary evidence of CNA policies issued to PALIC but asserts that it has found no policy

documents providing coverage to PALIC and that PALIC has not provided any policy documents

to the CNA Defendants.

                                                 16.

               The AIG Defendants have denied coverage and are not paying any portion of

PALIC's defense costs, asserting that the AIG Policies are all excess policies and that there has

been no indication that the underlying limits of insurance have been exhausted.

                                                 17.

               The Travelers Defendants have denied coverage and are not paying any portion of

PALIC's defense costs. The Travelers Defendants have asserted that the remaining policies are

excess policies and that there has been no indication that the underlying limits of insurance have

been exhausted.


                                      Declaratory Judgment

                                                 18.

               PALIC realleges each and every allegation set forth in Paragraphs 1 through 17,

inclusive.



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                                               19.

               An actual controversy has arisen and now exists between PALIC and each Third-

Party Insurer Defendant relating to the duty of each to honor and perform its insurance policies.

A declaratory judgment is therefore necessary, and PALIC asks for a declaratory judgment,

defining the rights of PALIC and the obligations of each Third-Party Insurer Defendant under each

of its liability policies insuring PALIC, including without limitation: the scope of the insurance

coverages provided thereby; the applicability or inapplicability of asserted policy exclusion(s),

including the so called "pollution exclusions"; each Third-Party Defendant's obligation to provide

a defense or contribute to defense costs and expenses herein; and, with regard to any potential

liability of PALIC to the Plaintiffs which may be determined at the trial of the principal demand

herein, the measure and the amount of indemnity for same under the applicable policies.

                                           PRAYER

              WHEREFORE, Defendant/Third Party-Plaintiff, Pan-American Life Insurance

Company, prays:

                      A.     That Third-Party Insurer Defendants, the Brandywine Defendants,

                              CNA Defendants, AIG Defendants, and Travelers Defendants, be

                             duly cited and served with citation and a certified copy of this copy

                             of this Third-Party Petition, as well as the underlying Plaintiffs

                             Petition and all amendments thereto;

                      B.     That there be judgment dismissing Plaintiffs' claims against PALIC

                             with prejudice at Plaintiffs' sole cost; alternatively, should PALIC

                             be found legally liable to Plaintiffs herein at trial, PALIC prays for

                             a judgment awarding it indemnity from the Third- Party Insurer

                             Defendants under the terms of their insurance policies and/or entry

                             of a judgment ordering the Third-Party Insurer Defendants to pay

                             such claims on PALIC's behalf in accordance with their policies.

                      C.     That after due proceedings be had, that there be judgment rendered

                             herein declaring the rights of PALIC and the obligations of the

                             Third-Party Insurer Defendants, under each of their issued insurance

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                               policies with respect to its construction, the insurance coverage

                               provided thereunder for PALIC with respect to Plaintiffs claims

                              herein, PALIC's right to a legal defense and payment of insurance

                              proceeds for Plaintiffs' claims, and the measure and the amount of

                               same, and that the Third-Party Insurer Defendants are obligated to

                              provide PALIC a full and complete legal defense and indemnity of

                              Plaintiffs' claims in accordance with the terms of the policies and

                              the law;

                       D.     For recovery of all such other and further general and specific relief

                              in law or equity as the justice of this cause may require and permit.

Filed this 5th day of April 2024.

                                               Respectfully submitted,

                                                                          ____________
                                               Wayne J. Lee (La. Bar No. 07916)
                                               Michael Q. Walshe, Jr. (La. Bar No. 23968)
                                               Emily A. Hickman (La. Bar No. 39909)
                                               STONE PIGMAN WALTHER WITTMANN LLC
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                                               New Orleans, Louisiana 70112
                                               Telephone: (504) 581-3200
                                               wlee@stonepigman. com
                                               mwalshe@stonepigman. com
                                               ehickman@stonepigman. com

                                               Attorneys for Third Party Plaintiff,
                                               Pan-American Life Insurance Company




PLEASE HOLD SERVICE




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                  CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

NO. 2000-7489                                                                         DIVISION "J"

                                 THOMAS ANDERSON, ET AL.

                                              VERSUS

                               CITY OF NEW ORLEANS, ET AL.

FILED:________________________________                   _______________________________________
                                                                          DEPUTY CLERK

    DEFENDANT PAN-AMERICAN LIFE INSURANCE COMPANY'S UNOPPOSED
          MOTION FOR LEAVE TO FILE THIRD-PARTY PETITION

                Defendant and prospective Third-Party Plaintiff, Pan-American Life Insurance

Company ("PALIC"), respectfully moves this Honorable Court for leave under La. C.C.P. arts.

1033 and 1111 to file a Third-Party Petition against its liability insurers who have a duty to defend

and indemnity PALIC against and for all or part of the Plaintiffs' principal demands; and in support,

PALIC shows as follows:

                                                  1.

                PALIC tendered Plaintiffs' claims asserted in the principal demand to its liability

insurers. In response, the insurers wrongfully failed or refused to perform fully their obligations

under their insurance policies, including by disclaiming coverage or by asserting improper

reservations of rights.

                                                 2.

                Although PALIC denies all liability to Plaintiffs in the principal demand, should

PALIC be found legally liable for any of the Plaintiffs' claims, PALIC seeks to recover via

incidental demand defense and indemnity for such claims from one or more of its insurers under

the liability policies those insurers issued to PALIC.

                                                 3.

               PALIC is also filing an Unopposed Motion to Sever for Separate Trial Insurance

Coverage Actions Asserted in Third-Party Petition.          Assuming that motion is granted, the

requested leave to file PALIC's third-party petition will not retard the progress of the principal

action.
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                                                 4.

               Undersigned counsel has conferred with counsel of record for all parties remaining

in the proceeding, i.e., Plaintiffs and NID Corporation, and confirmed that those parties consent to

PALIC filing its Third-Party Petition. Accordingly, this motion is presented to the Court as

unopposed.

               WHEREFORE, Pan-American Life Insurance Company prays that this unopposed

motion for leave be granted and that its proposed Third-Party Petition be accepted for filing.

                                                Respectfully submitted,


                                               Wayne J. Lee (La. Bar No. 07916)
                                               Michael Q. Walshe, Jr. (La. Bar No. 23968)
                                               Emily A. Hickman (La. Bar No. 39909)
                                               STONE PIGMAN WALTHER WITTMANN LLC
                                               909 Poydras Street, Suite 3150
                                               New Orleans, Louisiana 70112
                                               Telephone: (504) 581-3200
                                               wlee@stonepigman. com
                                               mwalshe@stonepigman. com
                                               ehickman@stonepigman. com

                                               Attorneys for Third-Party Plaintiff,
                                               Pan-American Life Insurance Company
                                               (for the purpose of the insurance claims
                                               asserted in its third-party petition)


                                CERTIFICATE OF SERVICE

               I hereby certify that a copy of the above and foregoing Unopposed Motion for

Leave to File Third-Party Petition has been served upon all counsel of record by email and/or by

placing same in the United States mail, postage prepaid and properly addressed, this 5th day of

April, 2024.




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                                                                                            5439095v. I
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                CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                   STATE OF LOUISIANA

NO. 2000-7489                                                               DIVISION "J’

                               THOMAS ANDERSON, ET AL.

                                           VERSUS

                             CITY OF NEW ORLEANS, ET AL.

FILED:________________________________
                                                                    DEPUTY CLERK

                                           ORDER

              Considering the foregoing Defendant Pan-American Life Insurance Company's

Unopposed Motion for Leave to File Third-Party Petition',

              IT IS ORDERED that the motion is granted;

              IT IS FURTHER ORDERED that the request leave is granted for its filing and

that Pan-American Life Insurance Company's proposed Third-Party Petition be accepted and

deemed properly filed.

              New Orleans, Louisiana, this___ day of April, 2024.




                                                                    JUDGE




                                                                                   5439095v. 1
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                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

NO. 2000-7489                                                                     DIVISION "J"

                                THOMAS ANDERSON, ET AL.

                                            VERSUS

                              CITY OF NEW ORLEANS, ET AL.

FILED:_____________________________                  ____________________________________
                                                                    DEPUTY CLERK

                                 THIRD-PARTY PETITION

               Pan-American Life Insurance Company ("PALIC"), as Third-Party Plaintiff, files

this third-party petition against its liability insurers who have a duty to defend and indemnify

PALIC against and for all or part of the Plaintiffs' principal demands, representing upon

information and belief as follows:

                                                1.

               Made Third-Party Defendants are:

               (a)    Century Indemnity Company, as successor to CCI Insurance Company, as

                      successor to Insurance Company of North America ("Century"), a

                      Pennsylvania corporation with its principal place of business in

                      Pennsylvania, which at all relevant times was authorized to do and in fact

                      transacting business in the State of Louisiana;

              (b)     ACE Property & Casualty Insurance Company ("ACE P&C"), a

                      Pennsylvania Corporation with its principal place of business in

                      Pennsylvania, which at all relevant times was authorized to do and in fact

                      transacting business in the State of Louisiana;

              (c)     Westchester Fire Insurance Company for itself and with respect to policies

                      notated from International Insurance Company ("Westchester"), a

                      Pennsylvania corporation with its principal place of business in

                      Pennsylvania, which at all relevant times was authorized to do and in fact

                      transacting business in the State of Louisiana;
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     (d)   ACE Fire Underwriters Insurance Company formerly known as CIGNA

           Fire Underwriters Insurance Company formerly known as Aetna Fire

           Underwriters    Insurance       Company   ("ACE Fire"),     a Pennsylvania

           corporation with its principal place of business in Pennsylvania, which at

           all relevant times was authorized to do and in fact transacting business in

           the State of Louisiana;

     (e)   Federal Insurance Company ("Federal"), an Indiana corporation with its

           principal place of business in New Jersey, which at all relevant times was

           authorized to do and in fact transacting business in the State of Louisiana;

     (f)   Great Northern Insurance Company ("Great Northern"), an Indiana

           corporation with its principal place of business in New Jersey, which at all

           relevant times was authorized to do and in fact transacting business in the

           State of Louisiana;

     (g)   CNA Financial Corporation ("CNA"), a Delaware corporation with its

           principal place of business in Illinois, which at all relevant times was

           authorized to do and in fact transacting business in the State of Louisiana;

     (h)   American Casualty of Reading PA ("American Casualty"), a Pennsylvania

           corporation with its principal place of business in Illinois, which at all

           relevant times was authorized to do and in fact transacting business in the

           State of Louisiana;

     (i)   Transcontinental Insurance Company ("Transcontinental"), a New York

           corporation with its principal place of business in Illinois, which at all

           relevant times was authorized to do and in fact transacting business in the

           State of Louisiana;

     (j)   American Intenation Group, Inc. ("AIG"), a Delaware corporation with its

           principal place of business in New York, which at all relevant times was

           authorized to do and in fact transacting business in the State of Louisiana;




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               (k)     Lexington Insurance ("Lexington"), a Massachusetts corporation with its

                       principal place of business in Massachusetts, which at all relevant times was

                       authorized to do and in fact transacting business in the State of Louisiana;

               (1)     Travelers Casualty and Surety Company ("Travelers"), a Minnesota

                       corporation with its principal place of business in Connecticut, which at all

                       relevant times was authorized to do and in fact transacting business in the

                       State of Louisiana; and

               (m)     Gulf International ("Gulf), upon information and belief, a Connecticut

                       corporation with its principal place of business in Missouri, which at all

                       relevant times was authorized to do and in fact transacting business in the

                       State of Louisiana.

Century, ACE P&C, Westchester, ACE Fire, Federal, and Great Northern will be referred to

collectively as the "Brandywine Defendants"; CNA, American Casualty, and Transcontinental will

be referred to collectively as the "CNA Defendants"; AIG and Lexington will be referred to

collectively as the "AIG Defendants"; and Travelers and Gulf will be referred to collectively as

the "Travelers Defendants." The Brandywine Defendants, CNA Defendants, AIG Defendants, and

Travelers Defendants are sometimes referred to collectively as "Third-Party Insurer Defendants"

or each/any individually as a "Third-Party Insurer Defendant".

                                                 2.

               On May 16, 2000, Plaintiffs initiated the principal demands herein against the City

of New Orleans ("the City") as a putative class action by filing their Petition for Damages asserting

claims seeking damages for alleged exposures to dangerous substances allegedly stored in the

basement of a building located at 2400 Canal Street in New Orleans, Louisiana referred to as the

City Hall Annex (the "Property"). Plaintiffs alleged that the exposure to the dangerous substances

started in 1982 and continued until December 1999.

                                                 3.

               During 2001, Plaintiffs filed their First Amended Petition and Second Amended

Petition naming PALIC as defendant and seeking damages for alleged exposure to dangerous

substances allegedly stored in the Property.

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                                                 4.

                Plaintiffs filed their Third Amended Petition on or about June 22, 2005, naming

Poydras Square, Inc. ("PSI") and New Orleans Centre Associates ("NOCA") as additional

defendants from which Plaintiffs seek damages for alleged exposure to dangerous substances

allegedly stored in the Property.

                                                 5.

                On September 27, 2019, Plaintiffs filed their Fourth Amended Petition herein

naming "Poydras Square Properties, LLC (NID Corporation)" as an additional defendant from

which Plaintiffs seek damages for alleged exposure to dangerous substances allegedly stored in

the Property.

                                                 6.

                Plaintiffs allege in their principal demand, among other things and subject to their

specific wording, that PALIC is liable to pay damages caused by means of an accident and/or

continuous or repeated exposures to conditions, which resulted in Plaintiffs' alleged bodily injuries

due to alleged exposures to toxic materials during the time period of August 10, 1982 through

December 9, 1999.

                                                 7.

                PALIC denies liability for Plaintiffs' alleged claims and damages and reiterates and

reavers by reference all of its denials and defenses to same set forth in its Defendant Pan-American

Life Insurance Company's Answer and Affirmative Defenses to Plaintiffs' Fourth Amended

Petition filed herein. To the extent PALIC is liable for Plaintiffs' claims herein, however, the

Third-Party Insurer Defendants owe PALIC indemnity therefore or payment thereof in accordance

with the terms of their respective liability insurance policies issued to PALIC.

                                                 8.

                The Brandywine Defendants issued various liability insurance policies, which,

subject to their terms, conditions, limitations and exclusions, insure PALIC and pursuant to which,

if PALIC is found liable to Plaintiffs, the Brandywine Defendants are or will be obligated to

indemnify PALIC (and/or be liable to Plaintiffs directly) for all or part of Plaintiffs' principal




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demands herein against PALIC, including without limitation the following (the "Brandywine

Policies"):

                    (a)    Aetna Policy No. SMP02-15-79 with a policy period of May 26,
                           1980 to December 26, 1983;

                    (b)    Aetna Policy No. OBPD08585660 with a policy period of May 26,
                           1983 to May 26, 1986;

                    (c)    ACE Policy No. 3529-36-20 with a policy period of January 1, 1994
                           to January 1, 1995;

                    (d)    ACE Policy No. 3529-36-20 73197587 with a policy period of
                           January 1, 1995 to January 1, 1996;

                    (e)    ACE Policy No. 3529-36 -20 with a policy period of January 1,1996
                           to January 1, 1997;

                    (f)    Great Northern Policy No. 3529-36-20 with a policy period of
                           January 1, 1997 to January 1, 1998;

                    (g)    Great Northern Policy No. 3529-36-20 with a policy period of
                           January 1, 1998 to January 1, 1999;

                    (h)    Great Northern Policy No. 3529-36-20 with a policy period of
                           January 1, 1999 to January 1, 2000;

                    (i)    Great Northern Policy No. 3529-36-20 with a policy period January
                           1, 2000 to January 1, 2001;

                    (j)    ACE Umbrella Policy No. 524-210436-9 with a policy period of
                           January 1, 1992 to January 1, 1993;

                    (k)    ACE Umbrella Policy No. XOO G17120682 with a policy period of
                           January 1, 1994 to December 31, 1995;

                    (1)    Westchester Umbrella Policy No. CUA-102537-0 with a policy
                           period of January 1, 1996 to January 1, 1997;

                    (m)    Westchester Umbrella Policy No. CUA-102537 with a policy period
                           of January 1, 1997 to January 1, 1998;

                    (n)    ACE Excess Policy No. 7909-19-19 with a policy period of May 26,
                           1987 to May 26, 1988;

                    (o)    ACE Excess Policy No. (89) 7909-19-19 with a policy period of
                           May 26, 1988 to May 26, 1989;

                    (p)    ACE Excess Policy No. (90) 7909-19-19 with a policy period of
                           May 26, 1989 to May 26, 1990;

                    (q)    ACE Excess Policy No. (91) 7909-19-19 with a policy period of
                           May 26, 1990 to January 1, 1991;

                    (r)    ACE Excess Policy No. (92) 7909-19-19 with a policy period of
                           January 1, 1991 to January 1, 1992;



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                        (s)     ACE Excess Policy No. (93) 7909-19-19 with a policy period of
                                January 1, 1992 to January 1, 1993;

                        (t)     ACE Excess Policy No. (94) 7909-19-19 with a policy period of
                                January 1, 1993 to January 1, 1994;

                        (u)     ACE Excess Policy No. (95) 7909-19-19 with a policy period of
                                January 1, 1994 to January 1, 1995;

                        (v)     ACE Excess Policy No. (96) 7909-19-19 with a policy period of
                                January 1, 1995 to January I, 1996;

                        (w)     ACE Excess Policy No. (97) 7909-19-19 with a policy period of
                                January 1, 1996 to January 1, 1997; and

                        (x)     ACE Excess Policy No. (98) 7909-19-19 with a policy period of
                                January 1, 1997 to January' 1, 1998.

                                                   9.

                The CNA Defendants issued various liability insurance policies, which, subject to

their terms, conditions, limitations and exclusions, insure PALIC and pursuant to which, if PALIC

is found liable to Plaintiffs, the CNA Defendants are or will be obligated to indemnify PALIC

(and/or be liable to Plaintiffs directly) for all or part of Plaintiffs' principal demands herein against

PALIC, including without limitation the following (the "CNA Policies"):

                        (a)     Policy No. OAC 400215437 with policy periods of May 26, 1986 to
                                May 26, 1987 and June 20, 1986 to June 20, 1987;

                        (b)     Policy No. OAC 400215437 with policy periods of May 26, 1987 to
                                May 26, 1988 and June 20, 1987 to June 20, 1988;

                        (c)     Policy No. OF 400215437 with a policy period of June 20, 1988 to
                                June 20, 1989;

                        (d)     Transcontinental Policy No. OF 400215437 with a policy period of
                                June 20, 1989 to June 20, 1990;

                        (e)     Transcontinental Policy No. OF 6673960 with a policy period of
                                January 1, 1990 to January 1, 1991;

                        (f)     Transcontinental Policy No. OF 6673960 with a policy period of
                                January 1, 1991 to January 1, 1992;

                        (g)     Transcontinental Policy No. OF 6673960 with a policy period of
                                January 1, 1992 to January 1, 1993;

                                                  10.

               The AIG Defendants issued various liability insurance policies, which, subject to

their terms, conditions, limitations and exclusions, insure PALIC and pursuant to which, if PALIC

is found liable to Plaintiffs, the AIG Defendants are or will be obligated to indemnify PALIC


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(and/or be liable to Plaintiffs directly) for all or part of Plaintiffs' principal demand herein against

PALIC, including without limitation the following (the "AIG Policies"):

                       (a)     Lexington Umbrella Policy No. 5101682 with a policy period of
                               May 26, 1987 to May 26, 1988;

                       (b)     Lexington Umbrella Policy No. 5104957 with a policy period of
                               May 26, 1989 to May 26, 1990;

                       (c)     Lexington Umbrella Policy No. 5104983 with a policy period of
                               May 26, 1990 to January 1, 1991;

                       (d)     Lexington Umbrella Policy No. 5107806 with a policy period of
                               January 1, 1991 to January 1, 1992;

                       (e)     Lexington Umbrella Policy No. unknown with a policy period of
                               January 1, 1994 to January 1, 1995; and

                       (f)     AIG Umbrella Policy No. BE 3097117 with a policy period of
                               January 1, 1995 to January 1, 1996.

                                                 11.

               The Travelers Defendants issued various liability insurance policies, which, subject

to their terms, conditions, limitations and exclusions, insure PALIC and pursuant to which, if

PALIC is found liable to Plaintiffs, the Travelers Defendants are or will be obligated to indemnify

PALIC (and/or be liable to Plaintiffs directly) for all or part of Plaintiffs' principal demand herein

against PALIC, including without limitation the following (the "Travelers Policies"):

                       (a)     Gulf Umbrella Policy No. CU6078474 with a policy period of
                               January 1, 1998 to January 1, 1999;

                       (b)     Gulf Umbrella Policy No. CU0283393 with a policy period of
                               January 1, 1999 to January 1, 2000; and

                                                 12.

               The policies issued by the Third-Party Insurer Defendants were in effect during the

period that the Plaintiffs allege they were exposed to harmful chemicals through the date that

PALIC was named as a defendant. Because some or all of the Plaintiffs' allegations of their

principal demands against PALIC, as amended, if proven true, would be covered under the policies

issued by Third-Party Insurer Defendants, Plaintiffs allegations herein triggered the Third-Party

Insurer Defendants' obligations under their respective policies to defend and indemnify PALIC in

this action.




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                                                 13.

                PALIC tendered Plaintiffs' claims to the Third-Party Insurer Defendants.

                                                 14.

               The Brandywine Defendants agreed to pay a portion of PALIC's defense costs but

have asserted a reservation of rights as to coverage, including inter alia the assertion that the claims

are not covered because of the pollution exclusion in the policies. The Brandywine Defendants

also filed a declaratoiy judgment complaint against PALIC in the United States District Court for

the Eastern District of Louisiana (No. 2:24-cv-00584), seeking an order declaring PALIC's rights

under the Brandywine Policies.

                                                 15.

               The CNA Defendants agreed to pay a portion of PALIC's defense costs but have

asserted a reservation of rights as to coverage. CNA has acknowledged that PALIC has produced

secondary evidence of CNA policies issued to PALIC but asserts that it has found no policy

documents providing coverage to PALIC and that PALIC has not provided any policy documents

to the CNA Defendants.

                                                 16.

               The AIG Defendants have denied coverage and are not paying any portion of

PALIC's defense costs, asserting that the AIG Policies are all excess policies and that there has

been no indication that the underlying limits of insurance have been exhausted.

                                                 17.

               The Travelers Defendants have denied coverage and are not paying any portion of

PALIC's defense costs. The Travelers Defendants have asserted that the remaining policies are

excess policies and that there has been no indication that the underlying limits of insurance have

been exhausted.


                                      Declaratory Judgment

                                                 18.

               PALIC realleges each and every allegation set forth in Paragraphs 1 through 17,

inclusive.



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                                               19.

               An actual controversy has arisen and now exists between PALIC and each Third-

Party Insurer Defendant relating to the duty of each to honor and perform its insurance policies.

A declaratory judgment is therefore necessary, and PALIC asks for a declaratory judgment,

defining the rights of PALIC and the obligations of each Third-Party Insurer Defendant under each

of its liability policies insuring PALIC, including without limitation: the scope of the insurance

coverages provided thereby; the applicability or inapplicability of asserted policy exclusion(s),

including the so called "pollution exclusions"; each Third-Party Defendant's obligation to provide

a defense or contribute to defense costs and expenses herein; and, with regard to any potential

liability of PALIC to the Plaintiffs which may be determined at the trial of the principal demand

herein, the measure and the amount of indemnity for same under the applicable policies.

                                           PRAYER

              WHEREFORE, Defendant/Third Party-Plaintiff, Pan-American Life Insurance

Company, prays:

                      A.     That Third-Party Insurer Defendants, the Brandywine Defendants,

                              CNA Defendants, AIG Defendants, and Travelers Defendants, be

                             duly cited and served with citation and a certified copy of this copy

                             of this Third-Party Petition, as well as the underlying Plaintiffs

                             Petition and all amendments thereto;

                      B.     That there be judgment dismissing Plaintiffs' claims against PALIC

                             with prejudice at Plaintiffs' sole cost; alternatively, should PALIC

                             be found legally liable to Plaintiffs herein at trial, PALIC prays for

                             a judgment awarding it indemnity from the Third- Party Insurer

                             Defendants under the terms of their insurance policies and/or entry

                             of a judgment ordering the Third-Party Insurer Defendants to pay

                             such claims on PALIC's behalf in accordance with their policies.

                      C.     That after due proceedings be had, that there be judgment rendered

                             herein declaring the rights of PALIC and the obligations of the

                             Third-Party Insurer Defendants, under each of their issued insurance

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                               policies with respect to its construction, the insurance coverage

                               provided thereunder for PALIC with respect to Plaintiffs claims

                              herein, PALIC's right to a legal defense and payment of insurance

                              proceeds for Plaintiffs' claims, and the measure and the amount of

                               same, and that the Third-Party Insurer Defendants are obligated to

                              provide PALIC a full and complete legal defense and indemnity of

                              Plaintiffs' claims in accordance with the terms of the policies and

                              the law;

                       D.     For recovery of all such other and further general and specific relief

                              in law or equity as the justice of this cause may require and permit.

Filed this 5th day of April 2024.

                                               Respectfully submitted,

                                                                          ____________
                                               Wayne J. Lee (La. Bar No. 07916)
                                               Michael Q. Walshe, Jr. (La. Bar No. 23968)
                                               Emily A. Hickman (La. Bar No. 39909)
                                               STONE PIGMAN WALTHER WITTMANN LLC
                                               909 Poydras Street, Suite 3150
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                                               ehickman@stonepigman. com

                                               Attorneys for Third Party Plaintiff,
                                               Pan-American Life Insurance Company




PLEASE HOLD SERVICE




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                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

NO. 2000-7489                                                                            DIVISION "J"

                                 THOMAS ANDERSON, ET AL.

                                              VERSUS

                               CITY OF NEW ORLEANS, ET AL.

FILED:________________________________                _______________________________________
                                                                          DEPUTY CLERK

          DEFENDANT PAN-AMERICAN LIFE INSURANCE COMPANY'S
       UNOPPOSED MOTION TO SEVER FOR SEPARATE TRI AL INSURANCE
         COVERAGE ACTIONS ASSERTED IN THIRD-PARTY PETITION

               Defendant and prospective Third-Party Plaintiff, Pan-American Life Insurance

Company ("PALIC"), respectfully moves this Honorable Court to sever from the principal action

for a separate trial the actions for insurance coverage asserted in its Third-Party Petition.

                                                 1.

               On April 5, 2024, PALIC moved for leave pursuant to La. C.C.P. Arts. 1033 and

1111 to file its Third-Party Petition against its liability insurers who have a duty to defend and to

pay directly or indemnify PALIC for all or part of the Plaintiffs' principal demands.

                                                 2.

               After obtaining the consent of all parties remaining in the case, i.e., Plaintiffs and

NID Corporation, PALIC filed its Unopposed Motion for Leave to File Third-Party Petition

contemporaneously with this motion.



               Although PALIC denies liability to Plaintiffs; should PALIC be found legally liable

for Plaintiffs' claims, PALIC seeks to recover via the incidental demand defense and indemnity for

such claims from one or more of its insurers under the liability policies those insurers issued to

PALIC and under which insurance coverage issues are presented.

                                                 4.

               Article 1562D of the Code of Civil Procedure provides:

               If it would simplify the proceedings or would permit a more orderly
               disposition of the case or otherwise would be in the interest of
               justice, at any time prior to trial on the merits, the court may order,
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               with the consent of all parties, a separate trial on the issue of
               insurance coverage, unless a factual dispute that is material to the
               insurance coverage issue duplicates an issue relative to liability or
               damages. The issue of insurance coverage shall be decided by the
               court alone, whether or not there is to be a jury trial on the issue of
               liability or damages.

                                                 5.

               Severance of PALIC's claims stated in its Third-Party Petition would both (i) avoid

any potential delays as to the progress of Plaintiffs' principal demands and (ii) avoid complicating

the upcoming trial of those actions with issues of insurance coverage. Accordingly, granting this

motion to sever would "simplify the proceedings" and "permit a more orderly disposition of the

case."

                                                 6.

               Counsel for all parties remaining in this matter have advised undersigned counsel

of their consent to this motion being granted and to the requested severance.

               WHEREFORE, Pan-American Life Insurance Company prays that this unopposed

motion be granted and that an order issue severing PALIC's claims asserted in its Third-Party

Petition for a separate trial, to the Court alone, on the issues of insurance coverage pursuant to La.

C.C.P. Art. 1562D.

                                                 Respectfully submitted,

                                                                             __________________
                                                 Wayne J. Lee (La. Bar No. 07916)
                                                 Michael Q. Walshe, Jr. (La. Bar No. 23968)
                                                 Emily A. Hickman (La. Bar No. 39909)
                                                 STONE PIGMAN WALTHER WITTMANN LLC
                                                 909 Poydras Street, Suite 3150
                                                 New Orleans, Louisiana 70112
                                                 Telephone: (504) 581-3200
                                                 wlee@stonepigman. com
                                                 mwalshe@stonepigman. com
                                                 ehickman@stonepigman. com

                                                 Attorneys for Third-Party Plaintiff,
                                                 Pan-American Life Insurance Company
                                                 (for the purpose of the insurance claims
                                                 asserted in its third-party petition)




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                                                                                              5439285v. 1
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                                CERTIFICATE OF SERVICE

               I hereby certify that a copy of the above and foregoing Defendant Pan-American

Life Insurance Company's Unopposed Motion to Sever for Separate Trial Insurance Coverage

Actions Asserted in Third-Party Petition has been served upon all counsel of record by email

and/or by placing same in the United States mail, postage prepaid and properly addressed, this 5th

day of April, 2024.




                                                                                           5439285V. I
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 32 of 114




                    CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                       STATE OF LOUISIANA

NO. 2000-7489                                                                     DIVISION "J’

                                   THOMAS ANDERSON, ET AL.

                                               VERSUS

                                  CITY OF NEW ORLEANS, ET AL.

FILED:_____________________________
                                                                          DEPUTY CLERK
                                                ORDER

                   Considering the foregoing Defendant Pan-American Life Insurance Company's

Unopposed Motion to Sever For Separate Trial Insurance Coverage Actions Asserted In Third-

Party Petition',

                   IT IS ORDERED that the motion is granted;

                   IT IS FURTHER ORDERED that Pan-American Life Insurance Company's claims

asserted in its Third-Party Petition be and are hereby severed from the principal demands for a

separate trial, to the Court alone, on those issues of insurance coverage pursuant to La. C.C.P.

Art. 1562D.

                   New Orleans, Louisiana, this ___ day of April, 2024.




                                                                          JUDGE




                                                                                         5439285v. 1
        Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 33 of 114




                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

NO. 2000-7489                                                                            DIVISION "J"

                                 THOMAS ANDERSON, ET AL.

                                              VERSUS

                               CITY OF NEW ORLEANS, ET AL.

FILED:________________________________                _______________________________________
                                                                          DEPUTY CLERK

          DEFENDANT PAN-AMERICAN LIFE INSURANCE COMPANY'S
       UNOPPOSED MOTION TO SEVER FOR SEPARATE TRI AL INSURANCE
         COVERAGE ACTIONS ASSERTED IN THIRD-PARTY PETITION

               Defendant and prospective Third-Party Plaintiff, Pan-American Life Insurance

Company ("PALIC"), respectfully moves this Honorable Court to sever from the principal action

for a separate trial the actions for insurance coverage asserted in its Third-Party Petition.

                                                 1.

               On April 5, 2024, PALIC moved for leave pursuant to La. C.C.P. Arts. 1033 and

1111 to file its Third-Party Petition against its liability insurers who have a duty to defend and to

pay directly or indemnify PALIC for all or part of the Plaintiffs' principal demands.

                                                 2.

               After obtaining the consent of all parties remaining in the case, i.e., Plaintiffs and

NID Corporation, PALIC filed its Unopposed Motion for Leave to File Third-Party Petition

contemporaneously with this motion.



               Although PALIC denies liability to Plaintiffs; should PALIC be found legally liable

for Plaintiffs' claims, PALIC seeks to recover via the incidental demand defense and indemnity for

such claims from one or more of its insurers under the liability policies those insurers issued to

PALIC and under which insurance coverage issues are presented.

                                                 4.

               Article 1562D of the Code of Civil Procedure provides:

               If it would simplify the proceedings or would permit a more orderly
               disposition of the case or otherwise would be in the interest of
               justice, at any time prior to trial on the merits, the court may order,
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 34 of 114




               with the consent of all parties, a separate trial on the issue of
               insurance coverage, unless a factual dispute that is material to the
               insurance coverage issue duplicates an issue relative to liability or
               damages. The issue of insurance coverage shall be decided by the
               court alone, whether or not there is to be a jury trial on the issue of
               liability or damages.

                                                 5.

               Severance of PALIC's claims stated in its Third-Party Petition would both (i) avoid

any potential delays as to the progress of Plaintiffs' principal demands and (ii) avoid complicating

the upcoming trial of those actions with issues of insurance coverage. Accordingly, granting this

motion to sever would "simplify the proceedings" and "permit a more orderly disposition of the

case."

                                                 6.

               Counsel for all parties remaining in this matter have advised undersigned counsel

of their consent to this motion being granted and to the requested severance.

               WHEREFORE, Pan-American Life Insurance Company prays that this unopposed

motion be granted and that an order issue severing PALIC's claims asserted in its Third-Party

Petition for a separate trial, to the Court alone, on the issues of insurance coverage pursuant to La.

C.C.P. Art. 1562D.

                                                 Respectfully submitted,

                                                                             __________________
                                                 Wayne J. Lee (La. Bar No. 07916)
                                                 Michael Q. Walshe, Jr. (La. Bar No. 23968)
                                                 Emily A. Hickman (La. Bar No. 39909)
                                                 STONE PIGMAN WALTHER WITTMANN LLC
                                                 909 Poydras Street, Suite 3150
                                                 New Orleans, Louisiana 70112
                                                 Telephone: (504) 581-3200
                                                 wlee@stonepigman. com
                                                 mwalshe@stonepigman. com
                                                 ehickman@stonepigman. com

                                                 Attorneys for Third-Party Plaintiff,
                                                 Pan-American Life Insurance Company
                                                 (for the purpose of the insurance claims
                                                 asserted in its third-party petition)




                                                -2-
                                                                                              5439285v. 1
        Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 35 of 114




                                CERTIFICATE OF SERVICE

               I hereby certify that a copy of the above and foregoing Defendant Pan-American

Life Insurance Company's Unopposed Motion to Sever for Separate Trial Insurance Coverage

Actions Asserted in Third-Party Petition has been served upon all counsel of record by email

and/or by placing same in the United States mail, postage prepaid and properly addressed, this 5th

day of April, 2024.




                                                                                           5439285V. I
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 36 of 114




                    CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                       STATE OF LOUISIANA

NO. 2000-7489                                                                     DIVISION "J’

                                   THOMAS ANDERSON, ET AL.

                                               VERSUS

                                  CITY OF NEW ORLEANS, ET AL.

FILED:_____________________________
                                                                          DEPUTY CLERK
                                                ORDER

                   Considering the foregoing Defendant Pan-American Life Insurance Company's

Unopposed Motion to Sever For Separate Trial Insurance Coverage Actions Asserted In Third-

Party Petition',

                   IT IS ORDERED that the motion is granted;

                   IT IS FURTHER ORDERED that Pan-American Life Insurance Company's claims

asserted in its Third-Party Petition be and are hereby severed from the principal demands for a

separate trial, to the Court alone, on those issues of insurance coverage pursuant to La. C.C.P.

Art. 1562D.

                   New Orleans, Louisiana, this ___ day of April, 2024.




                                                                          JUDGE




                                                                                         5439285v. 1
        Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 37 of 114




                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

NO. 2000-7489                                                                            DIVISION "J"

                                 THOMAS ANDERSON, ET AL.

                                              VERSUS

                               CITY OF NEW ORLEANS, ET AL.

FILED:________________________________                _______________________________________
                                                                          DEPUTY CLERK

          DEFENDANT PAN-AMERICAN LIFE INSURANCE COMPANY'S
       UNOPPOSED MOTION TO SEVER FOR SEPARATE TRI AL INSURANCE
         COVERAGE ACTIONS ASSERTED IN THIRD-PARTY PETITION

               Defendant and prospective Third-Party Plaintiff, Pan-American Life Insurance

Company ("PALIC"), respectfully moves this Honorable Court to sever from the principal action

for a separate trial the actions for insurance coverage asserted in its Third-Party Petition.

                                                 1.

               On April 5, 2024, PALIC moved for leave pursuant to La. C.C.P. Arts. 1033 and

1111 to file its Third-Party Petition against its liability insurers who have a duty to defend and to

pay directly or indemnify PALIC for all or part of the Plaintiffs' principal demands.

                                                 2.

               After obtaining the consent of all parties remaining in the case, i.e., Plaintiffs and

NID Corporation, PALIC filed its Unopposed Motion for Leave to File Third-Party Petition

contemporaneously with this motion.



               Although PALIC denies liability to Plaintiffs; should PALIC be found legally liable

for Plaintiffs' claims, PALIC seeks to recover via the incidental demand defense and indemnity for

such claims from one or more of its insurers under the liability policies those insurers issued to

PALIC and under which insurance coverage issues are presented.

                                                 4.

               Article 1562D of the Code of Civil Procedure provides:

               If it would simplify the proceedings or would permit a more orderly
               disposition of the case or otherwise would be in the interest of
               justice, at any time prior to trial on the merits, the court may order,
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 38 of 114




               with the consent of all parties, a separate trial on the issue of
               insurance coverage, unless a factual dispute that is material to the
               insurance coverage issue duplicates an issue relative to liability or
               damages. The issue of insurance coverage shall be decided by the
               court alone, whether or not there is to be a jury trial on the issue of
               liability or damages.

                                                 5.

               Severance of PALIC's claims stated in its Third-Party Petition would both (i) avoid

any potential delays as to the progress of Plaintiffs' principal demands and (ii) avoid complicating

the upcoming trial of those actions with issues of insurance coverage. Accordingly, granting this

motion to sever would "simplify the proceedings" and "permit a more orderly disposition of the

case."

                                                 6.

               Counsel for all parties remaining in this matter have advised undersigned counsel

of their consent to this motion being granted and to the requested severance.

               WHEREFORE, Pan-American Life Insurance Company prays that this unopposed

motion be granted and that an order issue severing PALIC's claims asserted in its Third-Party

Petition for a separate trial, to the Court alone, on the issues of insurance coverage pursuant to La.

C.C.P. Art. 1562D.

                                                 Respectfully submitted,

                                                                             __________________
                                                 Wayne J. Lee (La. Bar No. 07916)
                                                 Michael Q. Walshe, Jr. (La. Bar No. 23968)
                                                 Emily A. Hickman (La. Bar No. 39909)
                                                 STONE PIGMAN WALTHER WITTMANN LLC
                                                 909 Poydras Street, Suite 3150
                                                 New Orleans, Louisiana 70112
                                                 Telephone: (504) 581-3200
                                                 wlee@stonepigman. com
                                                 mwalshe@stonepigman. com
                                                 ehickman@stonepigman. com

                                                 Attorneys for Third-Party Plaintiff,
                                                 Pan-American Life Insurance Company
                                                 (for the purpose of the insurance claims
                                                 asserted in its third-party petition)




                                                -2-
                                                                                              5439285v. 1
        Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 39 of 114




                                CERTIFICATE OF SERVICE

               I hereby certify that a copy of the above and foregoing Defendant Pan-American

Life Insurance Company's Unopposed Motion to Sever for Separate Trial Insurance Coverage

Actions Asserted in Third-Party Petition has been served upon all counsel of record by email

and/or by placing same in the United States mail, postage prepaid and properly addressed, this 5th

day of April, 2024.




                                                                                           5439285V. I
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 40 of 114




                    CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                       STATE OF LOUISIANA

NO. 2000-7489                                                                     DIVISION "J’

                                   THOMAS ANDERSON, ET AL.

                                               VERSUS

                                  CITY OF NEW ORLEANS, ET AL.

FILED:_____________________________
                                                                          DEPUTY CLERK
                                                ORDER

                   Considering the foregoing Defendant Pan-American Life Insurance Company's

Unopposed Motion to Sever For Separate Trial Insurance Coverage Actions Asserted In Third-

Party Petition',

                   IT IS ORDERED that the motion is granted;

                   IT IS FURTHER ORDERED that Pan-American Life Insurance Company's claims

asserted in its Third-Party Petition be and are hereby severed from the principal demands for a

separate trial, to the Court alone, on those issues of insurance coverage pursuant to La. C.C.P.

Art. 1562D.

                   New Orleans, Louisiana, this ___ day of April, 2024.




                                                                          JUDGE




                                                                                         5439285v. 1
        Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 41 of 114




                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

NO. 2000-7489                                                                         DIVISION "J"

                                 THOMAS ANDERSON, ET AL.

                                              VERSUS

                               CITY OF NEW ORLEANS, ET AL.

FILED:________________________________                _______________________________________
                                                                          DEPUTY CLERK

               NOTICE OF ENROLLMENT BY PAN-AMERICAN LIFE
          INSURANCE COMPANY OF ADDITIONAL COUNSEL OF RECORD

               Pan-American Life Insurance Company ("PALIC") is currently and will remain

represented by Edward F. LeBreton III (La. Bar No. 8215), Meghan E. Smith (La. Bar No. 34097),

Tarak Anada (La. Bar No. 31598), and Marisa Del Turco (La. Bar No. 40336) of the law firm of

Jones Walker LLP and Jason Rogers Williams (La. Bar No. 25539) and Hannah Beth Salter (La.

Bar No 34749) of the law firm of Jason Williams & Associates, LLC in defense of the merits of

Plaintiffs' principal claims, but PALIC desires to enroll additional counsel to represent it regarding

insurance coverage matters, in accordance with Local Rule 9.12. PALIC respectfully files notice

that Wayne J. Lee (La. Bar No. 07916), Michael Q. Walshe. Jr (La. Bar No. 23968), and Emily

A. Hickman (La. Bar No. 39909) of the law firm of Stone Pigman ’Walther Wittmann LLC. 909

Poydras Street, Suite 3150, New Orleans, Louisiana 70112, are enrolled as additional counsel of

record for PALIC in the captioned matter regarding insurance coverage matters.




                                                Wayne J. Lee (La. Bar No. 07916)
                                                Michael Q. Walshe, Jr. (La. Bar No. 23968)
                                                Emily A. Hickman (La. 3arNo. 39909)
                                                STONE PIGMAN WAL fHER WITTMANN LLC
                                                909 Poydras Street, Suite 3150
                                                New Orleans. Louisiana 70112
                                                Telephone: (504) 581-3200
                                                wlee@stonepigman. com
                                                mwalshe@stonepigman. com
                                                ehickman@stonepigman. com

                                                Attorneys for Third-Party Plaintiff,
                                                Pan-American Life Insurance Company
                                                (for the purpose of the insurance claims
                                                asserted in its third-parly' petition)
        Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 42 of 114




                                CERTIFICATE OF SERVICE

               I hereby certify that a copy of the above and foregoing Notice of Enrollment by

Pan-American Life Insurance Company of Additional Counsel of Record has been served upon all

counsel of record by email and by placing same in the United States mail, postage prepaid and

properly addressed, this 5th day of April, 2024.




                                               -2-
                                                                                       5439067v. I
        Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 43 of 114




                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                     STATE OF LOUISIANA

NO. 2000-7489                                                                         DIVISION "J"

                                 THOMAS ANDERSON, ET AL.

                                              VERSUS

                               CITY OF NEW ORLEANS, ET AL.

FILED:________________________________                _______________________________________
                                                                          DEPUTY CLERK

               NOTICE OF ENROLLMENT BY PAN-AMERICAN LIFE
          INSURANCE COMPANY OF ADDITIONAL COUNSEL OF RECORD

               Pan-American Life Insurance Company ("PALIC") is currently and will remain

represented by Edward F. LeBreton III (La. Bar No. 8215), Meghan E. Smith (La. Bar No. 34097),

Tarak Anada (La. Bar No. 31598), and Marisa Del Turco (La. Bar No. 40336) of the law firm of

Jones Walker LLP and Jason Rogers Williams (La. Bar No. 25539) and Hannah Beth Salter (La.

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Plaintiffs' principal claims, but PALIC desires to enroll additional counsel to represent it regarding

insurance coverage matters, in accordance with Local Rule 9.12. PALIC respectfully files notice

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A. Hickman (La. Bar No. 39909) of the law firm of Stone Pigman ’Walther Wittmann LLC. 909

Poydras Street, Suite 3150, New Orleans, Louisiana 70112, are enrolled as additional counsel of

record for PALIC in the captioned matter regarding insurance coverage matters.




                                                Wayne J. Lee (La. Bar No. 07916)
                                                Michael Q. Walshe, Jr. (La. Bar No. 23968)
                                                Emily A. Hickman (La. 3arNo. 39909)
                                                STONE PIGMAN WAL fHER WITTMANN LLC
                                                909 Poydras Street, Suite 3150
                                                New Orleans. Louisiana 70112
                                                Telephone: (504) 581-3200
                                                wlee@stonepigman. com
                                                mwalshe@stonepigman. com
                                                ehickman@stonepigman. com

                                                Attorneys for Third-Party Plaintiff,
                                                Pan-American Life Insurance Company
                                                (for the purpose of the insurance claims
                                                asserted in its third-parly' petition)
        Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 44 of 114




                                CERTIFICATE OF SERVICE

               I hereby certify that a copy of the above and foregoing Notice of Enrollment by

Pan-American Life Insurance Company of Additional Counsel of Record has been served upon all

counsel of record by email and by placing same in the United States mail, postage prepaid and

properly addressed, this 5th day of April, 2024.




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                                                                                       5439067v. I
             Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 45 of 114

                                         SCAN-StG
                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                   STATE OF LOUISIANA

    NUMBER:44:392$1                      DIVISION " "                           I )CKET

          THOMAS ANDERSON, individually, and ON BEHAL      E
        SIMILARLY SITUATED, ALL PERSONS WORKING AT 2400 CANAL
       STREET FROM THE DATE THE BUILDING WAS ACQUIRED BY THE
                        CITY OF NEW ORLEANS

                                                 versus

                            CITY OF NEW ORLEANS,
                     HOUSING AUTHORITY OF NEW ORLEANS,
             C. J. BROWN PUBLIC HOUSING MANAGEMENT COMPANY,
7                        XYZ INSURANCE COMPANY, and
                 LOUISIANA INSURANCE GUARANTY ASSOCIATION



    FILED:
                                                          DEPUTY CLERK

                                    AMENDED PETITION

          Plaintiffs, Thomas Anderson, Pamela Davenport, Evelle Thomas, June Haiwy,        d

    Joseph Wong, Individually and on behalf of those similarly situated, all personshifoMbe

    been exposed to or contaminated by toxic, hazardous chemicals present on the premises at

    2400 Canal Street, respectfully represent:

                                                   I.

          Plaintiffs wish to supplement and amend the Original Petition by adding the

    following additional paragraphs:

                                                  24.

          Made an additional defendant is Pan American Life Insurance Company ("Pan Am"),

    a Louisiana insurance company having its principal place of business in New Orleans,

    Louisiana.

                                                  25.

          The chemicals described in plaintiffs' original petition which were stored at 2400

    Canal Street and which injured the plaintiffs were placed on the premises by Pan Am.


                                            Page 1 of 3
                                                                                           2
          Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 46 of 114



                                                26.

        The storage of the chemicals by Pan Am created an unreasonably dangerous

condition for subsequent occupants ofthe property, including the plaintiffs in this lawsuit.

                                                27.

        The storage of the chemicals by Pan Am was illegal, and the extremely dangerous

properties of the chemicals were concealed from the plaintiffs by Pan Am.

                                                28.

        The injuries suffered by the plaintiffs are the direct result of Pan Am's wrongful

conduct in illegally storing the chemicals and in willfully concealing the dangerous

properties of the chemicals and the associated health risks from the plaintiffs.

                                                29.

        These actions make Pan Am liable not only for damages designed to compensate the

plaintiffs for their injuries but also for exemplary damages as set out in paragraph 23 of

plaintiffs' original petition.

                                                30.

        Plaintiffs are entitled to a trial by jury in this case.

        WHEREFORE, plaintiffs reiterate all ofthe allegations oftheir original petition and

further pray:

        1. That judgment be rendered herein declaring and certifying this cause as a class

action and for all other orders necessary pursuant thereto;

        2. That there be judgment rendered herein in favor of the named plaintiffs and all

those similarly situated, against the defendant, the City of New Orleans and Pan American

Life Insurance Company, in an amount sufficient to compensate the named plaintiffs and all

those similarly situated for the damage each of them has sustained, and sufficient to punish

defendants, together with legal interest, costs, attorney's fees and expert fees; and

        3. For all such other further reliefas might be warranted by the law and nature ofthe

case.


                                            Page 2 of 3
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 47 of 114



                                            Respectfully submitted,

                                            MURPHY, ROGERS & SLOSS




                                            Gary J. Gambel (#19864)
                                            Molly B. Halloran (#22409)
                                            One Shell Square
                                            701 Poydras Street, Suite 400
                                            New Orleans, Louisiana 70139
                                            Telephone: (504) 523-0400
                                            Facsimile: (504) 523-5574

                                            and

                                            CATER & WILLIS
                                            Jennifer N. Willis (#14877)
                                            Samuel O. Buckley, III (#3632 )
                                            R. Glenn Cater (#4048)
                                            3723 Canal Street
                                            New Orleans, Louisiana 70119
                                            Telephone:    (504) 488-6300
                                            Facsimile:    (504) 488-6302

                                            Attorneys for Petitioners


PLEASE SERVE:

Pan American Life Insurance Company
Through its agent for service of process:
Raymond J. Munna
William T. Steen
Legal Department
601 Poydras Street
New Orleans, LA 70130




                                       Page 3 of 3
CggMED    Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 48 of 114



              CIVIL DISTRICT COURT FOR THE PARISH OF ORLEAN
                                                                                aD
                                STATE OF LOUISIANA

 NUMBER: 94d92'51                     DIVISION " "                           DOCKET

       THOMAS ANDERSON, individually, and ON BEHAL      E
     SIMILARLY SITUATED, ALL PERSONS WORKING AT 2400 CANAL
    STREET FROM THE DATE THE BUILDING WAS ACQUIRED BY THE
                     CITY OF NEW ORLEANS

                                           versus

                         CITY OF NEW ORLEANS,
                  HOUSING AUTHORITY OF NEW ORLEANS,
          C. J. BROWN PUBLIC HOUSING MANAGEMENT COMPANY,
                      XYZ INSURANCE COMPANY, and
              LOUISIANA INSURANCE GUARANTY ASSOCIATION



 FILED:
                                                      DEPUTY CLERK

                                      JURY ORDER

       Let this case be tried by jury upon plaintiffs giving bond with a good and solvent

 surety as the law directs in the amount of $             to cover costs of the jury.

       New Orleans, Louisiana, this the _ day of                                   , 2001.




                                                             JUDGE

 Respectfully submitted,

 MURPHY, ROGERS & SLOSS




 Ga . ambel (#19864)
 Molly B. Halloran (#22409)
 One Shell Square
 701 Poydras Street, Suite 400
 New Orleans, Louisiana 70139
 Telephone: (504) 523-0400
 Facsimile: (504) 523-5574
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 49 of 114




and

CATER & WILLIS
Jennifer N. Willis (#14877)
Samuel O. Buckley, III (#3632 )
R. Glenn Cater (#4048)
3723 Canal Street
New Orleans, Louisiana 70119
Telephone:   (504) 488-6300
Facsimile:   (504) 488-6302

Attorneys for Petitioners




                                      2
                  Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 50 of 114


    SCANNED
                    CIVIL'DISTRICT COURT FOR THE PARISH OF ORLEANS

                                           STATE OF LOUISI

        NO.:                                   DIVISION " "                        SECTION

                   THOMAS ANDERSON, PAMELA DAVENPORT,      SECTION 15
         EVELLE THOMAS, JUNE HARVEY, JOSEPH WONG, INDIVIDUALLY and
                  ON BEHALF OF THOSE SIMILARLY SITUATED,
                          ALL PERSONS EXPOSED TO
                      CHEMICALS AT 2400 CANAL STREET

                                                     versus

                                           CITY OF NEW ORLEANS

        FILED:
                                                                              DEPUTY CLERK

                                           PETITION FOR DAMAGES


               The Petition of Thomas Anderson, Pamela Davenport, Evelle Thomas, June Harvey, and

        Joseph Wong, Individually and on behalf of those similarly situated, all persons who have been

        exposed to or contaminated by toxic, hazardous chemicals present on the premises at 2400 Canal

        Street, respectfully represents:

                                                        1.
l   Ô
               The following party is made defendant herein:

               The City ofNew Orleans, which owns, operates and maintains a buildiÉg                          or ge
                                                                                          421 LOYOLA AVENUE
        Hall Annex located at 2400 Canal Street, in the Parish of Orleans and whiclÕ               y      s

        responsible for the operation, management, maintenance, and conditio [][thttigSding.
                                                                              Case ©: 2000 7.489     Cashier          1
                                                       2.                     11              CLASS ACTION LAWSUITS
                                                                                    1 &   $   2r500.00    $ 2,500.00
               Defendant, City ofNew Orleans, negligently and intentionally caused and/or athpcbthere3           2 5

        to be present on its property at 2400 Canal Street, dangerous levels of hazardqq,.ghgs$                  2 500.00

        including potassium hydroxide, hydrochloric acid and hydrofiboric acid, which havEhirYe8Fnc

        continue to cause contamination of the premises as well as health problems and personal injury to

        persons working in the building.

                                                       3.

               The named plaintiffs are members of a class, and are representative of all those persons

        similarly situated, harmed due to exposure to or contamination by chemicals present at 2400

        Canal Street.                                                                                         CQ
            Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 51 of 114



                                                 4.

       This is a class action instituted pursuant to the provisions of Article 591, g n of the

Louisiana Code of Civil Procedure by petitioners on their own behalf and as members of the

class of all similarly situated persons who have sustained damages arising or resulting from the

circumstances, events, acts and omissions complained of herein, specifically, all persons who

sustained harm due to the presence of and exposure to hazardous chemicals at the building at

2400 Canal Street.

                                                 5.

       Petitioners are entitled to have this cause maintained as a class action pursuant to

Louisiana Code of Civil Procedure, Article 591, d m, for the following reasons:

       a)      The persons constituting the class are so numerous that the individual joinder of
               all parties is impractical;

       b)      There exists a common character among the rights sought to be enforced on
               behalf of the class among the named class representatives and the unnamed
               members of the class;

       c)      The named plaintiffs or representatives of the class are all members of the class
               and are so situated as to provide adequate representation for the unnamed class
               members;

       d)      The unnamed class members have no substantial interest in individually
               controlling the prosecution of their separate actions;

       e)      There are common questions and issues of law and fact involved in this matter
               which predominate over questions affecting individual class members;

       f)      Any defenses or theories of resistance to liability created by the defendants would
               be applicable to all claims presented by the members of the class;

       g)      Prosecution and separate actions by individual class members will create a serious
               risk of inconsistent or varying adjudications which may prejudicially affect the
               claims of other class members in subsequent litigation;

       h)      The prosecution of separate actions by the individual class members poses the risk
               that the separate adjudications respecting individual claimants would not be
               entirely dispositive of the interest of class members not parties to the litigation or
               would otherwise substantially impair or impede the ability of the class members
               to protect their interests;

       i)      The class action is a superior procedural vehicle for this litigation because the
               primary objectives of the class action, economies of time, effort and expense, will
               be achieved principally because:

               1)     Questions of law of fact common to the class members predominate over
                      questions affecting only individual members;

               2)     Any defenses would be generally applicable to all members of the class;


                                                 2
           Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 52 of 114




                3)      It is desirable to litigate this matter in a single forum where substantially
                        all witnesses, class members and properties are located, and where the
                        identity of the main issues of liability and all claims leads to a prompt,
                        efficient, and relatively inexpensive trial;

                4)     The number of plaintiffs in this matter are so numerous that requiring
                       separate suits would prove an onerous burden to the court;

                5)     The majority of the class members have neither the resources nor the
                       interest in maintaining or controlling the litigation brought on their behalf
                       in separate suits;

                6)     There may be some difficulty in identifying all members of the class, even
                       though the class is adequately identified, thus the unnamed class members
                       may not be afforded protection or relief if it were not for the procedural
                       vehicle of a class action;

               7)      Many class members may not be aware of their rights or of the harm
                       caused them, due to concealment or other acts by defendant;

                8)     Through the vehicle of the class action, the court may adopt a management
                       plan relative to all aspects of this litigation.

               9)      The class action vehicle would best insure procedural fairness to class
                       members in that its utilization would avoid prejudicial or inconsistent
                       precedence of claims, first adjudicated, were the claims to be individually
                       litigated; and

                10)    The vehicle of the class action may be more easily managed than some
                       other procedural vehicle considering the opportunity to afford reasonable
                       notice of significant phases of the litigation, including discovery, to class
                       members.

                                                  6.

       Defendant has, at all material times, been aware that hazardous, dangerous chemicals

were present on the premises at 2400 Canal Street, which would cause injury to those exposed to

the chemicals stored on the property.

                                                  7.

       Despite defendant's knowledge of the risk presented by these chemicals, it (intentionally

recklessly and callously) nonetheless ordered petitioners and those similarly situated to work in

this dangerous environment with constant exposure to deadly, dangerous, hazardous, and harmful

chemicals, and thereby knowingly and intentionally caused great harm to the named plaintiffs

and others similarly situated.

                                                  8.

       Despite defendant's knowledge that the hazard presented by the dangerous chemicals,

was substantially certain to injure plaintiffs, the defendant did not discharge its duty to the named



                                                  3
             Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 53 of 114



plaintiffs and those similarly situated to inspect and eliminate the dangers attendant to the

presence, improper storage and inadequate monitoring of chemicals in the office building located

at 2400 Canal Street.

                                                 9.

        As owner of the building, defendant has an obligation to maintain the building in a

decent, safe, sanitary and non-defective condition.

                                                 10.

        The failure of defendant to provide a safe building and suitable workplace constitutes a

breach of the contract between defendant and each and every named plaintiff and those similarly

situated.

                                                 11.

        Defendant's conduct constitutes a breach of applicable law, regulations, and codes.

                                                 12.

        Defendant's conduct was intentional and was in gross, callous disregard for the known

harm that was certain to befall petitioners.

                                                 13.

        Defendant was intentional and tortious in the following non-exclusive particulars:

        a.      Defendant knew of the hazardous, dangerous and non-apparent defects
                complained of herein and yet took no action to alleviate the health hazard;

        b.      Defendant breached the standard of care owed to the named plaintiffs and those
                similarly situated to provide a decent, safe, non-hazardous and sanitary building;

        c.      Defendant violated regulations, code provisions, and laws by improperly storing
                chemicals at this office building;

        d.      Defendant intentionally concealed the presence of hazardous chemicals in the
                building and failed to take reasonable precautions, to the detriment of the named
                plaintiffs and those similarly situated;

        e.      Defendant breached its contractual and its delictual duties to the named plaintiffs
                and others similarly situated;

        f.      Defendant intentionally caused harm to the named plaintiffs and those similarly
                situated by forcing them to work and transact business in a location known to be
                contaminated; and

        g.      Defendant is also responsible and liable for such other negligent, intentional
                and/or criminal acts which may be discovered during investigation and trial of this
                matter.




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                                                    14.

        The chemical exposure, contamination and/or poisoning has caused and will continue to

cause severe health problems, a lifetime of illness, pain and suffering, loss of wages, loss of

earning capacity, emotional distress, worry, anxiety, fear, fright, loss of enjoyment of life,

decreased physical and mental functioning, and disability, and will require extensive future care,

annual testing, extensive future medical treatment, education, rehabilitation and training.

                                                    15.

       As a result of defendant's conduct, the named plaintiffs and those similarly situated suffer

an increased risk of future illness and ailments.

                                                    16.

       The named plaintiffs, and those similarly situated, require medical care and should

undergo annual medical testing as a result of the chemical exposure contamination and/or

poisoning sustained due to defendant's conduct, and defendant is liable for these expenses.

                                                    17.

       In addition to the lifelong consequences upon the named plaintiffs and those similarly

situated, the chemical exposure, contamination and/or poisoning also presents a risk of harm to

the named plaintiffs' and those similarly situated's spouses, children and future children and this

compounds the anxiety, distress and suffering associated with defendant's conduct.

                                                    18.

       As a result of the chemical exposure, contamination and/or poisoning caused by

defendant's intentional and negligent conduct, and the defective condition of defendant's

property, the named plaintiffs and those similarly situated will not only suffer physical injury,

but will also suffer anxiety, fear and related emotional distress regarding the future consequences

of their exposure to and contamination by these chemicals.

                                                    19.

       Your named plaintiffs and/or their spouses and children and those similarly situated have

or will suffer a loss of society, companionship, services, enjoyment of life and other elements of

consortium.




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                                                  20.

        The named plaintiffs and those similarly situated are entitled to damages for pain and

suffering, emotional distress, loss of consortium, loss of future earnings, permanent disability

and medical costs.

                                                  21.

        Petitioners and those similarly situated have, as a result of defendant's conduct, sustained

loss of earnings, reduction in earning capacity, negative employment consequences, loss of

function due to maladies associated with the exposure and other economic and employment

related harm.

                                                  22.

        The injuries and damages which have been or will be sustained by the named plaintiffs

and those similarly situated are a direct consequence of the intentional conduct, negligent acts,

breach of law and breach of contract by defendant.

                                                  23.

        It is specifically alleged that the chemicals involved in this case, which were or are

present at 2400 Canal Street, are hazardous and/or toxic substances within the meaning of

Louisiana Civil Code Art. 2315.3, which is applicable to this case, such that exemplary damages

are available and warranted because of defendant's willful, wanton, and/or reckless disregard for

public safety in the transportation, storage and/or handling of hazardous and/or toxic substances,

which occurred and caused the complained of damages.



       WHEREFORE, the named plaintiffs on their own behalf and on behalf of all those

similarly situated pray:

       (1)      That judgment be rendered herein declaring and certifying this cause as a class

action and for all other orders necessary pursuant thereto;

       (2)      That there be judgment rendered herein in favor of the named plaintiffs and all

those similarly situated, against the defendant herein, in an amount sufficient to compensate the

named plaintiffs and all those similarly situated for the damage each of them has sustained, and

sufficient to punish defendant, together with legal interest, costs, attorney's fees and expert fees;

and


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        (3)   For all such other further relief as might be warranted by the law and nature of the

case.

                                            Respectfully submitted,

                                            MURPHY, ROGERS & SLOSS




                                            Gary J. Gambel (#198 4)
                                            Molly B. Halloran (#22409)
                                            One Shell Square
                                            701 Poydras Street, Suite 400
                                            New Orleans, Louisiana 70139
                                            Telephone: (504) 523-0400
                                            Facsimile:    (504) 523-5574

                                            and

                                            CATER & WILLIS
                                            Jennifer N. Willis (#14877)
                                            Samuel O. Buckley, III (#3632 )
                                            R. Glenn Cater (#4048)
                                            3723 Canal Street
                                            New Orleans, Louisiana 70119
                                            Telephone: (504) 488-6300
                                            Facsimile:    (504) 488-6302

                                            Attorneys for Petitioners


PLEASE SERVE:

The City of New Orleans
Through Mayor Marc Morial
1300 Perdido Street
New Orleans, LA 70112




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                                                                            erg      eS

                 CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                          STATE OF LOUISIANA

NO.: 2000-7489                                DIVISION “B”                 oo             SECTION 15

                                   THOMAS        ANDERSON, ET AL

                                                  VERSUS

                                 CITY OF NEW ORLEANS, ET AL


FILED:
                                                                           DEPUTY CLERK

               FOURTH AMENDED PETITION IN COMPLIANCE WITH THE
                   COURT ORDER STRIKING CLASS CERTIFICATION

          The    plaintiffs,   Thomas     Anderson,     et. al., file this Fourth   Amended    Petition   in

response to the Order of the Fourth Circuit decertifying the class and ordering the removal of

class allegations in this matter.




          The following are named defendants:

          a)       The City of New         Orleans (hereinafter “the City”), a Louisiana political

subdivision situated in the State of Louisiana, Parish of Orleans;

         b)        Pan         American         Life           Insurance        Company       (hereinafter

“Pan Am”), a foreign cooperation authorized to do and doing business in the State of

Louisiana, Parish of Orleans, at all times relevant to this lawsuit; and

         c)        Poydras Square Properties, LLC (NID Corporation) (hereinafter referred to

collectively as “Poydras Square/NID”), a foreign corporation authorized to do and doing

business in the State of Louisiana, Parish of Orleans, at all times relevant to this lawsuit, the

successor in the 2400 Canal Street property title to Pan Am.’




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                                                   IL

          The claims of plaintiffs arise out of intentional, willful, wanton, reckless, and

 negligent conduct in the handling, storage, and concealment of hazardous waste — drums of

 chemicals, primarily acids — stored and left concealed in the basement of the 2400 Canal

 Street building, where all plaintiffs worked.

                                                  rn.

          The chemicals were at all times owned by Pan Am, which stored the drums in the

 building’s basement where those were abandoned when              it sold the 2400 Canal    Street

 building to Poydras Square/NID.        The new owner did nothing to address the hazardous

 waste, while it rented the building to the City, resulting in occupants of the building -

plaintiffs here - being injured. The City then acquired the building with Pan Am’s leaking

hazardous waste still in the basement — until a chemical reaction event revealed the hazard

and forced a cleanup.

                                                  IV.

          While the hazardous materials leaked, the vapor from the acids traveled throughout

the building, inundating offices on all floors and entering the lungs, mouths, eyes, noses, etc.,

of the plaintiffs.

                                                  V.

          Metal in the building deteriorated, fabrics were faded, and people complained about

smells and ill health effects.

                                                 VI.

          As set forth herein, all defendants are liable for the harm caused plaintiffs.

                                                 VIL.

          The negligent, willful, wanton, reckless, and intentional acts of defendants gave rise

to conditions which render the defendants strictly liable unto plaintiffs.

                                            '   VIII.

         As a result of the conduct of defendants and the conditions created by defendants,

plaintiffs sustained physical injuries, emotional distress, death, monetary losses, property


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losses, medical bills, loss of earning capacity, loss of enjoyment of life, and other damages as

are more fully set forth herein and/or as will be shown upon trial.

                                                     IX.

         The allegations of the original petition, the first amended            petition, the second

amended petition, and the third amended Petition are reiterated in full with the exception of

the removal of the class action allegations.

                                                      X.

          Each of the persons/plaintiffs named below is a resident of the Parish of Orleans,

State of Louisiana.

                                                     XI.

          The following persons are all individuals who were exposed to chemicals which

permeated the 2400 Canal Street building due to the negligent, willful, wanton, reckless, and

intentional acts of the defendants:         Thomas Anderson, Pamela Davenport, Evelle         Thomas,

June Harvey, Chaquitah Olitha Mary Abrahms, Joyce M. Adams, Joyce M. Adams, Maggie

S. Adams, Jerome Alexander, Tyrone A. Alexander, Ethel Griffin Alexander, Larry D.

Allen, Melissa F. Spencer Allen, Carla Henry Allen, Linda Marie Allen, Shannell N. Allen,

Daniel C. Allen Jr., Daniel C. Allen Sr., Shawn Marie Alsanders, Titus M. Ambrose Jr.,

Gary Anderson, Cheryl G. Anderson

         Leon Anderson Sr., Tammy            Andrews, Paulette Antoine, Adrian C. Antoine, André

Curtis    Antoine        Sr, Ludrick   Arceneaux,   Thomas   P. Anderson,   Therese   L. Archie-Ray,

Charles Boyd Armour Jr,            June M. Armour-Harvey, Sharrieff Armstead, George Arnett Jr.,

Nerond Bibbins Ash, Lynn Winchester Ashley, Susan Aubrey, Patty Auguillard, Shirley E.

August, Elmore J. Bachemin Jr., Shyrl Patterson Bagneris, Byron Bailey, Janila A. Bailey,

Evelyn C. Bailey, Rena D. Bailey, Melvin Baker, Francine Baker, Freddie Baker, Patricia M.

Ballard, Jerome Ballero, Latonya Michelle Ballom, Denise Barber, Joyce M. Barconey,

Lakisha Riley Barras, Eugene Barton Jr., Mary Coleman Bates, Beverly A. Moore Batiste,

Albert P. Batiste, Arthur Lee Baylor, Danielle Bazanac, Claude J. Bean, Wellington Beaulieu

Sr., Yolanda           Beavers, Vanessa L. Bell, Sheila P. Bell, Albert J. Bell Jr., Frank T. Ben,


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Louise      Bennett, Gary         Bennett Sr., Velma         Berry, Donald R. Berryhill Sr., Barbara J.

Bertrand, Floretta Marchand Bertrand, Carolyn T. Bethley, Brenda                        Bevley, Melanie M.

Bierria, Ferdinand T. Bigard Jr., Cheryl L. Biggins, Cheryl                   Bilbo, Murphy J. Billew Jr.,

Gladys       Binder, Carolyn        Blackman, Josephine         Blackmon, Bridget Tousant Blackmon,

Lionel J. Blake Jr., Edgar V. Blanchard, Michael Blevins, Martin G. Blossom Sr., Joseph B.

Blue Jr., Fred Bolds, Tiffany Boone, Regina Bornes, Richard N. Boseman, Henry                            Boss Jr.,

Enola M. Boudreaux, Michael J. Boudy, Genevieve F. Bourgeois,                          Sheila    Bourne, John

Boyd Jr., Irma Braddy, Juanita Barrow Bradford-Coleman, Valerie Branch, Claire Young

Brasley, Trina E. Brastfield, David              Braud Jr., Erica L. Brazley, Gregory           Briant, John A.

Brickley,      Sandra K. Bridges, Jerlene M. Bridges, Karen B. Bridges-Robinson,                         Carl E.

Bridgewater, Urilee Britton, Kim J. Broadnax, Gregory                 Brooks, Tiffany A. Brooks, Linda

Faye Atkins Brooks, Lizzell M. Brooks-Williams, Larry                  Broomfield.

                                                       XU.

          The following persons were also exposed to chemicals which permeated the 2400

Canal Street building due to the negligent, willful, wanton, reckless, and intentional acts of

the defendants:        André A. Broomfield, Renee S. Broomfield, Doris Brown, Charles Brown,

Timothy Brown, Joyce Brown, Sylvia A. Brown, Tamaria E. Brown, Zelia E. Brown, Stacy

Gathright Brown, Kenneth J. Brown, Sylvia J. Brown, Gregory J. Brown, Margie J. Brown,

Tyra Johnson Brown, Develle M. Brown, Janice Marie Taylor Brown, LaQuina Populus

Brown, Verna M. Brown-Archie, Alva R. Brulé, Gloria Brumfield, Derek Kevin Brumfield

Sr., Sonja Daunoy Brunious, Oris B. Buckner III, Miguana Buggage, Michelle A. Bullock,

Wanda      Burds, Kevin      Burns, Belinda A. Burras, Anna W. Burrell, Juanesta                Jean Bush, Carl

 Butler, Catherine C. Butler, Liza Meads              Butler, Michael Moore Butler, Norris Edward

Butler Jr., Theva M. Butler-Evans, Shalanda                Byrd, Regina      Byrd, Ray A. Byrd, Henry L.

Cagnolatti      Sr., Trina Harris Cambrice,          Yvette A. Cambridge,         Owanda        W.   Campbell,

Cammie       Carroll, Rene       Carter, David     Carter, Gayle J. Carter, Rachel L. Carter, Jessandra

M. Carter, Deborra L. Carter-Lipton, Jeanne D. Cates, Neia                    Causey-Varnado, Cindi M.

Cavalier-Burns,         Marvin      Cephus,      Melanie      Chamberlain,     Helen    H.   Chapital,     Betty


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Chapman, Deborah            Chapman, Lucien S. Charlot Jr., Patricia J Cheevers, Harvey                     Cherry,

Chianti      Chisholm, Sharon A. Clark, Martha E. Clausell, Jeannine                         Clay, Benjamin J.

Clements,      Lynn      T, Cobette,    Anita M.      Colbert,    Antoinette     Cole,     Lolita Tippen      Cole,

Veronica A. Celestine Coleman,               Clementine G. Coleman,            Alfred      Coleman    Jr., Ronald

Charles Coleman Sr., Jeannette Coleman-Joseph, Louis Colin Sr., Sharlene Collins, Joann

Collins, Hazel         Collins, Eugenia B. Collins, Darlene B. Collins, Ava G. Collins, Mildred W.

Collins, Besmer A. Collins Jr., Anna               Compass, Edwin J. Condoll Sr., Corliss                  Conway,

Meka S. Cook, Dwayne R. Cooper Sr, Dwanda M. Copper, Elias                                 Cottrell IH, Kurt G.

Coulon Sr, Raymond J. Cousin Jr, Yvonne                  Craft, Katrina Craft, Karen B. Crayton, Delisia

Foster Crayton, Ernest Crayton II], Trina J. Crenshaw, Cynthia                      Cross, Elvira P. Crowley,

Bruce Crump, Hamp             Crump, Damon Crutchfield, Mary Cummings, Cathy L. Cummings-

Adams,      Yolanda Parker Curd, Pierre A. Curry, Ernest                   Curry Jr., Hannah        Cushenberry,

Michael Jack Cutno, Hudson              Cutno Jr., Cynthia M. Dabney, Lynda                 Dabon, Ida      Daniel,

Reginald M. Daniels, Ernest Dapremont, Janice Matthews Darby, Karen Darensbourg, Alry

 Darensbourg III, Dianne Darwin, Pamela B. Davenport, Patricia Louise Davenport, Linda

Davis,    Clarence        Davis,    Pamela    Davis,     Joan     Davis,   Alisha       Davis,   Gabriel     Davis,

Christopher       Davis, John A. Davis, Deborah Ann Little Davis, Margaret R. Davis, Alvin

Davis Jr., Antoinette        Davis-Guyton, Ruby Dunn Decquir, Marguerite L. Dede, Antoinette

Marie Deselles Dejoie, Joan B. DeMesme,                   Diane M. Deruise, Antoinette M. DesDunes,

Lugenia      Diaz, Precious Roshanda Diaz, Marlene V. Dillon, George                       Dixon, Irene     Dixon,

Francine M. Dixon, Ronald             Dixon Jr., Wynette G. Dobard, Aurora Dobue, Roslyn Dodge,

Mary      Dollis, Howard           Domino, David Q. Domino,           Louise A. Donaldson, Inez Dorest,

Victor A. Dorsey, Karen             Dorsey-Jenkins, Joseph E. Downs, Yolanda                 Dright -—Robinson,

Lloyd     Eugene Dright Jr., Elaine          Dugué,     Derrick     Dunams,     Darlean L. Duncan,           Sonya

Brooks     Duplessis,      Charlene     Goodman,       Duplessis,    Larry J. Duplessis,         Brentley    Kevin

Duplessis, Virgil W. Duplessis, Guy                Dupré, Chrishelle         Dupuy, Troylynn          Dutton and

Joseph A. Dwyer.




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                                                      XU.

          The following persons were also exposed to chemicals which permeated the 2400

Canal Street building due to the negligent, willful, wanton, reckless, and intentional acts of

the defendants: Bernice Reddix Ealy, Janet H. Easterling, Linda Anderson Ebarb, Betty Jean

Eby, John        Edmonds,     Zepporiah A. Edmonds,            Marilyn   Edwards,   Patricia A. Edwards,

Cynthia Cuttino Edwards, Beverly M. Edwards, Gerald H. Edwards Jr., Agnes Brown Ellis,

Katina L. Ellis, Angelica M. Ellis-Hayes, Melvin               Ellzey, Eugene    Elzy, Sherida M. Emery,

Cipriano L. Espina Jr., Zandra          Essex- Williams, Oda M. Estell, Angela M. Esteves, Deindra

Breaux      Etheridge,    Jaqueline     Denise    Etheridge,    Willie H. Etheridge Jr., Zina       Eugene,

Jacquelyine M. Eursin, Regina                 Evans, Stacy     Evans-Smith, Rita Ann Evans-Williams,

Cynthia Ann Fauria-Remy,              Carole     Favorite, Ta'Keisha     Feast, Elise P. Felix, Ronald J.

Ferrier, Carolyn F. Fields, Deborah S. Finnie-Jackson, Brian D. Firstley, Shawn A. Flot,

Crystal M. Foley, Nicole Fontenot, Shannon V. Ford, Kewana T. Fortuné, Marcel S. Fortuné

Jr, Antoinette         Foster, Craig A. Foundas,          Deana Ervin Francis, Adrain      Parker Francis,

Shannon Ann Frank, Laval              Franklin, Kerry Andrews Franklin, Tronya           Franklin-Parker,

Shannon Frazier, Tangela Freeman, Dezelma Frere, Janelle Frezier, Rowland                        Frye, Vera

S. Gabriel, Jarelle A. Gabriel-Higginbotham,                 Jean E. Gaines, Corliss M. White Gaines,

Barbara G. Ganheart, Patrick Garner, Louise Cordier Gaspard, Ralph Gavin Sr, Rhonwhinn

 Gayle, Cherlynn         Gaynor, Joyce B. Gibbs, Elvettra N. Gibbs, Belinda Ann Ball Gibson,

Michael J. Gibson, Katrina M. Gibson, James                  Gile Jr., Dianne Marie Gillam, Veronica R.

Gipson, Lydia A. Glapion-Days,                 Tira B. Glover. Vera D. Goeloe, Lloyd M. Goeloe,

Esperenda         Gordon,    Sentrell    M.     Gordon,    Darrell   Anthony    Gordon   Sr.,   William   A.

Graffagnini, Debra          Graham, Bobby          Grant, Dorothy B. Briggs Grant, Alvin D. Grant,

DeJuanna B. Gray-Simon, Tracy                  Green, Bruno     Green, Shannon G. Green, Deborah M.

Green, Alfred Green III, Edna Gregoire, Jacqueline Griffith, Kaaren Montgomery Grimes,

Jimmy      Grimes Sr., Calvin     Grinstead, Leatha Ann Groomes, David Paul Grunberg, Corliss

B. Guidry, Gregory G. Guity, and Iris M. Campfield Gullette.




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                                                       XIV. .

         The following additional persons were exposed to chemicals which permeated the

2400 Canal Street building due to the negligent, willful, wanton, reckless, and intentional

acts of the defendants: Jacqueline Hagan, Babette Wesby Haines, Nayanta Haley, Michelle

Sheppard Hall, Mark A. Hall Sr., Terri J. Hamilton, Gail R. Hampton, Ivory                       Joseph Handy,

Janet L. Handy, Bertha            Hankton, Cortez      Hankton Sr., Leroy        Hargrove, Norman         Harrell,

Joyce B. Harrell, Alphonse              Harris, Marvin     Harris,   Jovonna     Harris, Russhane A. Harris,

Wonder D. Harris, Antoinette T. Harris, Bridget W. Harris, Horace                           Harris Jr., Chantel

Harris-Hayes, Lois          Harrison, Samuel M. Harrison, Charmaine                  Hatcher-Lotten, Keycia

Havard, Sherrell         Hayes, Patricia Hayes, Bryan K. Hayes, Christopher N. Hayes, Richard

Hebert, Claudia Henry, Doretha Henry, Sabrina J. Hickerson, Dianne Hicks, Jean Ethelyn

Higgins, Arnette         Hill, Janice     Hill, Sharon M. Hillard, Beverly          Hills, Sandy       Hinton Jr.,

Herman H. Hogues Jr., Andree G. Holland, Audrey T. Holloway, Anthony Holmes, Gaynell

Holms-Peterson,          Sheryl       Horn, Adrina H. Houston, Tye               Howard,    Gercelyn     Antonie

Howard, Viva M. Howard, Bertha Wright Howard, Alfred                           Howard III, Roy        Hughes Sr.,

Melvin     Excell      Hunter     Sr., Charley   B. Ireland Jr., Dianne          Jackson,    Sandra      Jackson,

Kimberly       Jackson, Joyce C. Jackson, Ann Davis Jackson, Willie E. Jackson, Samuel L.

Jackson, Kevin M. Jackson, Dorothy                Whitley Jackson, Edward           Jacobs, Ronelle Collins

Jacques,     Joan M. Jacques, Shirley M. Jagers, Penny Barquet                 James, Mary L. James, Zina M.

James, Howard           James Jr., Erica      Jarreau, Cynthia M. Jeanmarie, Nathaniel                Jeanpierre,

Sheila M. Jefferson, Schelaine Jenkins, Shelita                 Jenkins, Sharon Jenkins, Bernadine Mason

Jenkins, Lucille         Johnson, Alisa       Johnson,     Conrad    Johnson,     Renee     Johnson, Percival

Johnson,     Glynis       Johnson,      Charlotte Arthur Johnson,        Kevin    E. Johnson,      Clothlide    H.

Johnson, Wilma J. Johnson, Donna Jean Johnson, Emma L. Johnson, Andrea M. Johnson,

Cortina M. Johnson, Leotis M. Johnson, Yolanda Marie Johnson, Claudette P. Johnson,

Earlene P. Johnson, Jeanne R.             Johnson, Bessie R.     Johnson, Shanralette R.     Johnson, Charlene

T. Johnson, Tabrine T. Johnson, Darrin T. Johnson, Curtis                  Johnson Jr., Theresa         Johnson-

Bennett, Letha         Jolla, Ethel     Jones, Larry     Jones, Cheryl   Jones, Cassandra        Jones, Clover


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Jones, Frank Jones, Laura A. Jones, Gaynel E.               Jones, Ma'Rhonda F. Jones, Debra L. Jones,

Doris L. Toney Jones, Debra M. Jones, Willie Mae Jones, Lillie P. Jones, Leonard Jones HI,

Sandie Jones-Mikell, Camille M. Jordan, Shavette                Joseph, Wayne Anthony Joseph, Nedra

L. Joseph, Deborah Lynn Davis Joseph, Kim Marie                 Joseph, Azemore V. Joseph Sr., Cynthia

Jourdain, Theodore J. Keelen, Maxine           Keller-Spurlock, Darral J. Kendrick, Arlen Solomon

Kennedy, Jacqueline        Kennedy-Shine, Connie S. Keys,            and Elouise R. King.

                                                      XV.

          The following additional persons. were exposed to chemicals which permeated the

2400 Canal Street building due to the negligent, willful, wanton, reckless, and intentional

acts of the defendants: Rowena E. LaBeaud, Delerna Green LaBostrie, Henry                         LaCour,

Lekesha L. Lafayette, Dolores D. Lagarde, Vadell Lynn Lagarde, Chung K. Lam Sr., Jocinta

A. Lamerson, Alma          Lanaux, Mary C. Landor, Dianne             Landry, Shannon Dorsey Larry,

Robert Larry Jr., Renee S. Laurendine, Larry Lawless, Dian M. Lawless, Beryle Lawrence,

Yvette     LeBlanc     Lawrence,   Paulette J. Lawrence-Sorina,        Brenda    A. LeBeau,      Lumar   J.

LeBlanc Jr., Betty        Lee, Jennifer    Lee, Duana E. Lee, Allison M. Lee, Carlene M. Lee,

Raymond E. Lee Jr., Gary J. Lee Sr., Diane Reed Pittman Leftridge, Carol M. Lemon, Perry

P. Lemon, Equilla Lenoir, Madeline R. Leon, Yolanda Lewis, Wanda                      Lewis, Edna Lewis,

Sean     Lewis, Iola     Lewis, Lori A. Lewis, Chandra Bauman              Lewis, Jacqueline F. Lewis,

Jackie F. Lewis Jean H. Lewis, Lillian M. Lewis, Hazel M. Lewis, Jannett Wade Lewis,

Pamela Lewis-Ambrose, Lydia I. Lindsay, Brenda Marie Glover Lindsey, Keith A. Linyear,

Gertie     Little, Peter Lollis, Vivian    Longstreet, Terri      Lonzo, June V. Lopez, Debra       Lowe,

Lula P. Lowe, Raquel          Lucas, Barbara B. Lumpkins-Bonseigneur,                Brian   Luster, Oscar

Lymous,      Rosalind M. Mackey,          Sidney James Madison, Lois W. Madison, Bernadette

Magee, Marilyn M. Magee, Juan C. Manuel, Dorothy M. Manuel, Freda R. Marchand,

Adriella     Deborah    Markham     Wicker,    Hortense        Marshall,   Latasha      Marshall-George,

Christine A. Martin, Bettie A. Martin, Glenn A. Martin, Annabell Frank Martin, Earlette

Marie Johnson Martin, Victoria M. Martin, Sylvia Sigur Martin, Linda Marie Mason,

Cynthia      Mason-Kelson,      Darice     Maxwell,     Tawanda    Marie McAfee,        Shirley P. Cotton


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McCall, George         McClain, Betty J. McCormick,            Tammy      McCormick-Broussard, Alfred

McCoy,       Gezelle Davis McCray,       Thomas      J. McDermott,        A'Jenenne LoCure McDonald,

Claudette McFadden, Barbara A. McGee, Ora J. McGee, Brenda Cade McKay, Anita Kineta

McKay,       Juana L. McKay,       Pamela     Ann    McKee,      Varuna     Hayes   McKendall,      Michelle

Etheridge McMillian, James           McNeil, Janice          McNeil, William J. McNulty IU, Eljames

McQuillens Jr., Justine A. Mearis, Marcelo Mejia Sr., Willistine Melancon, Jacqueline B.

Mercadal, Laverne E. Mercadel, Dwayne                 Meyers, Joseph        Miller, Robert Curry Miller,

Phyllis    F. Millon, Nelda      J. Millon,    Shannon        Mitchell,   Ollie G. Mitchell,     Angela     M.

Mitchell, Lucy N. Mitchell, Mary E. Mobley, Rhonda                        Mollow, Keisha     Moore, Betty

Boudreaux        Morales, Joseph Vincent Morales,            Sammie A. Morgan,       Sharon M. Morgan,

Delicia R. Morgan, Laura S. Morgan, Faye Ann Morris, Kenneth P. Motley, Calhoun M.

Moultrie Jr., Mahdi        Muhammad,        Natasha F. Muse.        Dolores P. Muse,       Ronald    Myers,

Douglas Myles, Georgianna A. Nash, Bobby Nathan, Jemial Nelson, Christopher J. Nelson,

Tamara      Nero, Doris A. Nettles, Tanya b. Nettles-Evans, Kevin              Newton, Ann A. Nguyen,

Polly M. Noble, Gwendolyn P. Nolan, Sharon Theresa Norbert, Martin J. Nunez, Diane T.

Oats, Catherine T. Obioha, Lowminkar Odds, Peggy                    Ogle, Mayola J. Osirio, Annie         Otis,

Robert J. Otis, Ronnie     Owens, Betty Coats Owens, Linda Reed Paisant, Maurice R. Palmer,

Yolanda      Scales Palmer, Gerald      Parker, Nisha         Parker, KeShonna       Parker, Nauriene C.

Parker, Terry Elaine Parker, Della M. Parker, Cynthia M. Singleton Parker, Lawrence

Parker    Sr., Vanessa     Patterson,   Nakeitha       Patterson,    Dana    C. Patterson,   Katira Marie

Patterson, Julie Marie Patterson, Marchant W. Paxton, Keith Anthony Paylor, Mona Lisa C.

Payne, Glinda M. Payton, Arzelius             Payton Sr., Donna Jones Pearson, Michael A. Pella,

Duwayne         Perkins, Bryan    Perkins, Darryl        Perkins, Edward E. Perkins, Tracy           Meyers

Perkins, Gail R. Perkins, Sharon         Perry, Carol Delone Peters, Demetrise               Pette, Valerie

Petty, William E. Phillips, Rosalie         Pickett, Vivan Rondeno Picou, Elizabeth Allen Pierre,

Cheryl J. Pierre, Sylvia A. Poindexter, Victoria L. Poindexter, Roy                 Porche Jr., Lessie D.

Powell, Darlene M. Preston, Kim M. Preston, Dianne B. Price, Phyllis Currie Price, and

Kathleen      Pumphrey.


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                                                  XVI.

           The following additional persons were exposed to chemicals which permeated the

2400 Canal Street building due to the negligent, willful, wanton, reckless, and intentional

acts of the defendants: Ursula Quillen, Ruth B. Ragas, Debra Ann Ramsey, Ella M. Ramsey,

Dorothy      Randle, Suvilla Ratcliff,   Joan F. Reed, Traina M. Reed, Carl E. Reel Sr.,          Jefferson

R. Reese      Sr., Juanita   Reynolds,   Yvonne    Estell Reynolds,    Millie J. Richards,        Annette

Richardson, Veronica J. Rillieux, Carolyn D. Roberson, Cathy Roberts, Jack W. Roberts Jr.,

Teritha Roberts-Covington, Monique Robertson, Charles A. Robertson, Willis                    J. Robertson,

Claudia     Robertson- Williams, Ivory Robichaux Jr., Gwendolyn T. Robin, Bernel P. Robin

Sr., Wanda V. Robinette, Louis M. Robinette Sr., Ayanna Robinson, Ivan Robinson, Kevin

Robinson, Charlotte Robinson, Craig Robinson, Rona               Robinson, Dina Catrice Robinson,

Pearl Frazier Hammond Robinson, Howard L. Rodgers II, Maria A. Rodney-Wren, Shelia

W. Roman,        Jean M. Rome,    Rhonda Ramsey          Rousseve-Hamann,    Lawrence         C. Rout Jr.,

Corey      Roy, Connie V. Rucker, Hillery A. Rush, Kirtland A. Rush, Katherine                    Russell,

Delores B. Russell, Thomas        E. Russell, George A. SaBerre, Dwight D. Sallier, Doris J.

Sampson, Madelyn Cosey Sanchez, Diane M. Sanchez, Denise Sanders, Jenerio C. Sanders,

Hannah Mae Sanders, Dianne Young Sands, Walter                 Santa Cruz, Tamika Williams Santa

Cruz, Alton      Sartain, Derrick R. Saul, Victoria B. Saulny, Irvin Scales Sr., June B. Schubert,

Micheleen       Scott, Randolph    Scott, Lyman     Scott, Zachary    Scott, Annette     Scot, Tammy

Scott, Glenis Michael Scott, Tammy         Searls, Allison     Sears, Albertean Patterson Selmore,

William J. Severin, Sheila L. Severin, Brenda J. Stewart Sharret, Nicole               Sharret-Walker,

Keith Shelling, Cornelious        Shelton, Cherry Ann Shepard, Gary A. Shirley, Margie B.

Shorter,     Joseph Shorter III, Bonita Shropshire, Doris H. Simmons, Anita Thomas Simmons,

Lucille W. Simmons, Monique          Simms, Shirley      Simon, Justin A. Simon, Lynn Ann Simon,

Esperan      Sip, Isaac R. Skinner, Tanya P. Small,       Tarez Smith, Spencer     Smith, John      Smith,

Tanzie     Smith, Cecilia Smith, Patricia Smith, Antoinette       Smith, Rosalie     Smith,     Alexander

C. Smith, Warren D. Smith, Winona D. Smith, Ramona H. Smith, Sherrye H. Smith, Dedria

J. Smith, Patricia Jackson Smith, WillieL. Smith, Rachelle L. Stewart Smith, Emelda M.


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  Smith, Maria M. Smith, Sharon R. Smith, Selwyn R. Smith, Rosemary                                  Saint Cyr Smith,

  Yvonne T. Smith, Wanda V. Smith, Donise White Smith, Larry                            Smith Jr., Kimberly D.

  Smith-Jones,          Gloria M.    Smith-Journee,     Betty A. Soloman,         Felicia      Solomon,     Harris   S.

  Solomon, Thomas F. Soule Jr., Dolores                 Soupenne, Juliane        Southall, Gerold         Speaks Sr.,

  John H. Spillers Jr, Latasha           Spot, Lorraine        Stalbert, Edward       Stemley, Keisha Williams

  Stephens, Jimmy           Stevens, Bernadette Simeon Stevenson, Clinton A. Steward, Elaine W.

  Steward, Claude Aundray Steward Jr, Claude                   Steward Sr., Bonita Berry Stewart-Brackins,

| Russell    J. Stone, Janice B. Stroder, Kevia M.                Stroder, Latoya R. Stroder, Veronica L.

  Sturgent-Norman, Beverly A. Swinney and Aneid                      Sylvas.

                                                          XVII |

            The following additional persons were exposed to chemicals which permeated the

  2400 Canal Street building due to the negligent, willful, wanton, reckless, and intentional

  acts of the defendants: Ann Marie Tate, Winifred                   Taylor, Marilyn D. Taylor, Carolyn D.

 Taylor, Jesse F. Taylor,             Glenda      Smith Taylor,     Sharon B. Temple,           Winknoca      Brooks

 Terrance, Antoinette             Terregone-Wells, Alan G. Therence, Carl                   Thibodeaux,      Gregory

 Thomas,      Keith        Thomas,     Linda      Thomas,     Carmen        Thomas,   Susan      Thomas,      Pamala

 Thomas, Bruce A. Thomas, Evelle C. Thomas, Jared G. Thomas, Cheryl L. Thomas, Crystal

 M. Thomas, Artis Thomas Jr., Elbert Ranard Thomas Jr., Patsy J. Thomas-Ross, Deborah A.

 Thompson, Craig Alton Thompson, Rhonda H. Thompson, Kanika Thurman, Guy Tobias,

 Stacey      Tobias, Edward          Toliver Sr., Wendy          Torregano,    Stephanie D. Trask, Myrtis L.

 Trask,     Valdiner       M.   Trepagnier,    Lorraine      G. Triplett,    Ceta Ann       Jagers    Triplett-Reine,

 Marlene S. Tripps, Linda S. Tripps-Mumphry, Thelma L. Tucker-Labostrie, Milton Turner,

 Rosalie Blackmon Turner, Albert Jean Turner, Sandra L. Turner, Leon S. Turner, Kenneth

 V. Turner, Audrey              Tyler, Angelia D. Tyler, Troy Lynn Tyler, Trellis D. Van Norman,

 Margie Rushing Vance, Stacie Varnado, Patrice N. Vaughn, Zethelda Veal, Lois Coudnay

 Venable, lan           Ventress, Hope M., Woods Vicks, Gena                  Villavasso, Dell Stewart Wade-

 Simmons, James            Wadley Jr., Emily       Walker,     Beverly Walker, Willena Ann Walker, Carlos

 Melward       Walker, Don          J. Wallace,    Edmond      B. Wallace      Jr., Myrtis     B. Warren,     Dennis


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 Washington,           Patricia B. Washington, Jacqueline Hickerson Washington,                  Irma J. Scott

 Washington,           Claudia    M.     Washington,       Marjorie   R.   Washington,      Beyonka     Trenice

 Washington, Gerald J. Washington                 Sr..    Azona    Washington-Brown,       Russell K. Watson,

 Donnie Ray Watson, Lynette Esteves Weathersby, Troye Scott Weaver, Stella M. Webb,

 LaAndreinda W. Webb, Tamara L. Weber, Susan A. Wells, Cheryl                          West, Fay Ann West,

 Robert J. West, Clarence              West Jr., David C. West Jr., Joanetta         White, Racquel      White,

 Betty A. White, Wendy             A. White, Nikia C. White, Shellice E. White, Andre M. White,

 Nichele R. White, Lucille             White-Simmons, Gwendolyn            Wiggins and Vernance         Wilfred.

                                                          XVIII.

          The following additional persons were exposed to chemicals which permeated the

 2400 Canal Street building due to the negligent, willful, wanton, reckless, and intentional

 acts of the defendants:               Lagabe   Williams, Jerry       Williams,   Sherri    Williams,    Zandra

 Williams, Joy          Williams, Victor        Williams, Marten       Williams, Chrisdi      Williams, Letty

 Williams, Dianne           Williams, Latoya         Williams, Avarelle      Williams, Dwight         Williams,

 Shannon      Williams, Eddie          Williams, Edwina Arnold Williams, Charlotta Bright Williams,

Pamela Clay Williams, Enid Crenshaw Williams, Eddie D. Williams, Hugh D. Williams,

Ruth E. Williams, Stella F. Moran Williams, Bernadine Guy Williams, Diana H. Williams,

Ethel H. Williams, Janet H. Williams, Brenda, Harris Williams, Herman J. Williams, Leslie

J. Williams, Diedra Jackson Williams, Carole M. Williams, Gail M. Williams, Shannon M.

Williams, Harriette M. Williams, Etta Mae Williams, Herbert McNeal Williams, Rhoena

Meyers Williams, Jeanette Moss Williams, Pamela P. Williams, Shirley R. Williams, Donald

R. Williams,       Deborah       Robertson.     Williams, Thomas       V. Williams, John Yuri Williams,

James Z. Williams, Napoleon                Williams Jr., Earl A. Williams Jr., Merlin A. Williams Jr.,

Stanford M. Williams Jr., Cynthia D. Williams-White, Tanga Blunt Wilson. Wayne G.

Wilson, Michael Joseph Wilson, Jacqueline Ann Wilson-Bolden, Anisse T. Wiltz, Denise A.

Winslow, Wayne            Winters, Joseph        Wong, Erich       Woods, Chiquita     Woods, Cindy Long

Woods, Mary M. Woodward, Loleta Rogers Wright, Edward V. Wright, Florida R. deClouet




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  Wyatt, Bernadine      Wynne, Jaqueline Yancey, Carol Yarls, Doris Yearby, Arthur Young,

 Blair A. Young, Joseph        Zardies,     and Patricia   Zaves.

                                                     XIX. .

           The following persons are the heirs of plaintiffs who were exposed to chemicals

 which permeated the 2400 Canal Street building due to the negligent, willful, wanton,

 reckless, and intentional acts of the defendants:              Michael   Alexander,   as heir of Ethel

 Alexander (deceased); Dolores Beaulieu, as heir of Wellington Beaulieu, Sr. (deceased);

 June Bigard, as heir of Ferdinand Bigard, Jr. (deceased); Veronica Blake, as heir of Lionel

 Blake, Jr. (deceased); Richard Chapital, as heir of Helen Chapital (deceased); Pamela

 Cherry, as heir of Harvey Cherry (deceased); Dianne Williams and Brenda Spottville, as

 heirs    of Mildred    Collins   (deceased);      Santiago   Compass,    as heir of Anna     Compass

 (deceased); Jerry A. Duplessis, as heir of Larry Duplessis (deceased); Reganer Edwards, as

 heir of Gerald Edwards, Jr. (deceased); Lisa Elzy, as heir of Eugene Elzy (deceased); Jeffery

 Fauria. as heir of Cynthia Fauria-Remy              (deceased); Glenn Gaspard, as heir of Louise

 Gaspard (deceased); Adreama Higgins Mack, as heir of Jean Higgins (deceased); Jermaine

 Hills, as heir of Beverly Hills (deceased); Corey Jones, as heir of Ethel Jones (deceased);

Elena King, as heir of Elouise King (deceased); Allen Landry, as heir of Dianne Landry

(deceased); Adrienne Denise Markham, as heir of Adriella Markham Wicker (deceased);

Shannon Ann Frank, as heir of Annabell Martin (deceased); Donna Myers, as heir of Ronald

Myers (deceased); Keidra Phillips, as heir of William Phillips (deceased); Iris Gullette, as

heir of Victoria Poindexter (deceased); Travis Severin, as heir of Sheila Severin (deceased);

Juanita Smith, as heir of Willie Smith (deceased); Diane Speaks, as heir of Gerold Speaks,

Sr. (deceased); Gwen Spillers, as heir of John Spillers, Jr. (deceased); John Hughes, as heir

of Winifred       Taylor (deceased);      Cheryl   West, as heir of Clarence   West, Jr. (deceased);

Michael White, as heir of Andre White (deceased); Judith Woods, as heir of Erich Woods

(deceased); Charisma A. Declouet, as heit of Florida Wyatt (deceased); Nigel Bell, as heir of

Joseph Blue, Jr. (deceased); Pamela Boyd, as heir of John Boyd, Jr. (deceased); Dolores

Brickley, as heir of John Brickley (deceased); Keith Thomas,                as heir of Gayle Carter


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 (deceased); Nakia Johnson, as heir of J eannine Clay (deceased); Sandra Underwood, as heir

 of Jeannette Coleman-Joseph (deceased); Robert Davenport, as heir of Pamela Davenport

 (deceased); Joseph Harris, as heir of David Domino (deceased); Lynette Ellzey, as heir of

 Melvin Ellzey (deceased); Brenda Coleman-Davis, as heir of Tangela Freeman (deceased);

 Brenda Jean-Pierre, as heir of Nathaniel Jeanpierre (deceased); Linda Richard, as heir of

 Lillie    Jones (deceased); Dalton Moore, as heir of Debra Jones (deceased); Ryan Keys, as heir

 of Connie Keys (deceased); Dian Lawless, as heir of Larry Lawless (deceased); Mary Ellen

 LeBlanc, as heir of Lumar LeBlanc, Jr. (deceased); Raymond              Lee,as heir of Betty Lee

 (deceased); Iris Gullette, as heir of Lillian Lewis (deceased); Pamela Lewis, as heir of

 Yolanda Lewis (deceased); Deborah Ann Little Davis, as heir of Gertie Little (deceased);

 Linda Chisholm, as heir of Dorothy Manuel (deceased); Clarence Marchand, as heir of Freda

 Marchand (deceased); Sylvia Mitchell, as heir of Shannon Mitchell (deceased); Adrian

 Francis, as heir of Della Parker (deceased); Lawrence Parker, Jr., as heir of Lawrence Parker,

 Sr. (deceased); Cheryl Lobeell, as heir of Rosalie Pickett (deceased); Orren Mitchell, Sr., as

 heir of Chery] Pierre (deceased); Zina Amaker, as heir of Charles Robertson (deceased);

 Chawana Robin, as heir of Bernel Robin, Sr. (deceased); Mary Cummings, as heir of Isaac

Skinner (deceased); Allison Smith Mitchell, as heir of Ramona Smith (deceased); Darryl

Taylor,     as heir of Jesse Taylor     (deceased);   Vanessa   Trask,   as heir of Myrtis   Trask

(deceased); Jeremy Villavasso, as heir of Gena Villavasso (deceased); Kashena Wallace, as

heir of Edmond         Wallace, Jr. (deceased); Deborah Williams, as heir of Earl Williams, Jr.

(deceased); Kimberly Young, as heir of Blair Young (deceased); the heirs of Carla Allen

(deceased); the heirs of Titus Ambrose, Jr. (deceased); the heirs of Tammy              Andrews

(deceased);      the heirs of Albert Bell, Jr. (deceased); the heirs of Benjamin        Clements

(deceased); the heirs of Marguerite Dede (deceased); the heirs of Rowland Frye (deceased);

the heirs of Betty Owens (deceased); the heirs of Gwendolyn Robin (deceased); and the heirs

of Audrey Tyler (deceased).




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                                                 PAN AM

                                                 Xx,
             The chemicals which were stored at 2400 Canal Street and which injured the plaintiffs

  were placed on the premises by Pan Am.

                                                  XXI.

             The injuries suffered by the plaintiffs are the direct result of Pan Am’s wrongful

  conduct in knowingly abandoning and illegally storing the chemicals, and in willfully

  concealing the dangerous chemicals, the hazardous properties of the chemicals, and the

  associated health risks from the plaintiffs.

                                                  XXII.

           These actions make Pan Am liable not only for damages designed to compensate the

 plaintiffs for their injuries, but also for exemplary damages as set out in plaintiffs’ original

 petition.

                                                 XXII.

           Defendant, Pan Am, has, at all material times, been aware that hazardous, dan
                                                                                         gerous

 chemicals were abandoned on the premises at 2400 Canal Street, and that those
                                                                               chemicals

 would cause injury to those exposed to the chemicals stored on the property.

                                                 XXIV.

          The storage of the chemicals by Pan Am created an unreasonably dangerous condition

 for subsequent occupants of the property, including the plaintiffs in this lawsuit.

                                                 XXV.

          The storage of the chemicals by Pan Am was illegal, negligent, intentional, willful,

wanton,       and reckless   and the extremely    dangerous properties   of the chemicals   were

concealed from the plaintiffs by Pan Am.                  |                          |

                                                 XXVI.

          It is specifically alleged that the chemicals involved in this case, which were owned

by Pan Am and present at 2400 Canal Street, are hazardous and/or toxic substances within

the meaning of former Louisiana Civil Code Art. 2315.3, which is applicable to this case,


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 such that exemplary damages are available and warranted against Pan Am and all other

 defendants because of defendants’ willful, wanton,and/or reckless disregard for public safety

 in the transportation, storage, and/or handling of hazardous and/or toxic substances, which

 occurred as alleged herein, and caused the complained of damages.

                                               XXVII.
           The injuries suffered by the plaintiffs are the direct result of Pan Am's wrongful

 conduct in illegally storing the chemicals and in willfully concealing the presence of the

 chemicals, the dangerous properties of the chemicals, and the associated health risks of the

 chemicals from the plaintiffs.

                                               XXVIII.

           These actions make Pan Am liable not only for damages designed to compensate the

 plaintiffs for their injuries but also for exemplary damages as set out in plaintiffs’ original

 and amended petitions.

                                               XXIX.

          Defendant,     Pan Am,   intentionally and negligently    stored hazardous    chemicals

(including potassium hydroxide, hydrochloric acid, and hydrofluoric acid) in the basement of

the property located at 2400 Canal Street and failed to disclose the hazardous condition it

created to its successors in title, Poydras       Square/NID    and the City — and to building

occupants such as plaintiffs.      At all relevant times, the barrels and their contents remained

the property of Pan Am.

                                               XXX.

          Pan Am is strictly liable as it had custody, control, and garde over the 2400 Canal

Street property and the chemicals therein.

                                    POYDRAS SQUARE/NID

                                             XXXL

          Poydras Property/NID acquired the 2400 Canal Street property from Pan Am and then

rented    the property    to the City with 'the hazardous      chemicals   still on the premises.




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 Subsequently, Poydras Square/NID sold the property to the City, again with the hazardous

 chemicals still on site.

                                                   XXXII.

           The chemicals described in plaintiffs’ original petition which were stored at 2400

 Canal Street and which injured the plaintiffs were placed on the premises by Pan Am during

 the period of its ownership of the premises. Subsequent to the ownership of the property by

 Pan Am, the real property was acquired by Poydras Square/NID.

                                                XXXIIL
           Although,      upon information and believe, Poydras       Square/NID    did not buy the

 chemicals       from Pan Am, Poydras Square/NID allowed the chemicals to remain in the

 property      during     Poydras   Square/NID's     ownership   of 2400   Canal   Street.   Poydras

 Square/NID failed to appropriately dispose of the chemicals, failed to institute appropriate

 environmental          clean-up measures,   and failed to warn lessees, subsequent purchasers,

 occupants, plaintiffs, and others of the dangers posed by the chemicals.

                                                   XXXIV.

          The contamination of the 2400 Canal Street building with the Pan Am chemicals,

which began during Pan Am’s ownership of the property, continued and intensified during

Poydras Square/NID’s ownership, and existed during the City’s ownership.

                                                   XXXV.

          Poydras Square/NID had a duty to safely dispose of the chemicals and to warn

plaintiffs and others who might be affected by the contamination; it breached those duties,

and plaintiffs suffered harm as a result.

                                                XXXVI.

          Poydras Square/NID is strictly liable as it had custody, control, and garde over the

2400 Canal Street property and the chemicals therein.

                                               XXXVIL

         The failure of Poydras Square/NID to provide a safe building and suitable workplace

constitutes a breach of the contract between defendant and each and every plaintiff.


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                                                 XXXVIII.

            It is specifically alleged that the chemicals involved in this case, which were stored

  and handled or mishandled by Poydras Square/NID and present at 2400 Canal Street, are

  hazardous and/or toxic substances within the meaning of former Louisiana Civil Code Art.

  2315.3, which is applicable to this case, such that exemplary damages are available and

  warranted against Poydras Square/NID and all other defendants because of defendants’

  willful, wanton, and/or reckless disregard for public safety in the transportation, storage,

  and/or handling of hazardous and/or toxic substances, which occurred as alleged herein, and

 caused the complained of damages.

                                    CITY OF NEW ORLEANS

                                                 XXXIX.

           Defendant, the City, negligently, willfully, wantonly, recklessly, and intentionally

 caused and/or allowed there to be present on its property at 2400 Canal Street dangerous

 levels of hazardous chemicals,       including potassium hydroxide, hydrochloric acid, and

 hydrofluoric acid, which have caused and continue to cause contamination of the premises
                                                                                                as
 well as health problems and personal injury to persons working in the building, specifically,

 plaintiffs.

                                                   XL.

          Defendant, the City, at all material times, should have been aware that hazardous,

dangerous chemicals were present on the premises at 2400 Canal Street which would cause

injury to those exposed to the chemicals stored on the property.

                                                  XLI.     |

          As owner of the building, the City (like all other defendants) had an obligation to

maintain the building in a decent, safe, sanitary, and non-defective condition.

                                             XL
          The failure of the City to provide a safe building and suitable workplace constitutes a

breach of the contract between defendant and each and every plaintiff.

                                            “a




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                                                XLII.

           The City’s conduct constitutes a breach of applicable law, regulations, and codes, as

 does the conduct of Pan Am and Poydras Square/NID.

                                                XLIV.

           The City is strictly liable as it had custody, control, and garde over the 2400 Canal

 Street property and the chemicals therein.

                                                 XLV.

           It is specifically alleged that the chemicals involved in this case, which were stored

 and handled or mishandled by the City and present at 2400 Canal Street, are hazardous

 and/or toxic substances within the meaning of former Louisiana Civil Code Art. 2315.3,

 which is applicable to this case, such that exemplary damages are available and warranted

 against the City and all other defendants because of defendants’ willful, wanton, and/or

 reckless disregard      for public safety in the transportation, storage,       and/or handling of

hazardous        and/or toxic substances,   which   occurred   as alleged   herein,   and   caused   the

complained of damages.

                                   DEFENDANTS’          LIABILITY

                                                XLVI.

          Defendants, Pan Am, Poydras Square/NID, and the City, acted negligently, willfully,

wantonly, recklessly, intentionally, and tortuously in the following non-exclusive particulars:

          a)       Defendants each knew of the hazardous, dangerous, and non-apparent defects

complained of herein and yet took no action to alleviate the health hazard:

          b)       Defendants each breached the standard of care owed to the plaintiffs to provide

a decent, safe, non-hazardous, and sanitary building;

          c)       Defendants each violated regulations, code provisions, and laws by improperly

storing chemicals at this office building:

         d)        Defendants each concealed the presence of hazardous chemicals in the building

and failed to take reasonable precautions, to the detriment of the plaintiffs;




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             e)        Defendants each breached statutory, regulatory, contractual, and delictual

  duties to the plaintiffs;

             f)        Defendants each caused harm to the plaintiffs by forcing them to work and

  transact        business   in a location   which     defendants   knew   or should   have   known   was

  contaminated;

             2)        Defendants each ignored or mishandled information about complaints and

  illness of building occupants; and

             h)        Defendants are also responsible and liable for such other acts which may be

 discovered during investigation and trial of this matter.

           1)          Defendants are strictly liable.

                                                      XLVIL

           Plaintiffs reiterate all the allegations of all prior Petitions.

                                                 DAMAGES

                                                     XLVI.

           The chemical exposure, contamination, and/or poisoning has caused and will continue

 to cause severe health problems, death, a lifetime of illness, pain and suffering, loss of

 wages, loss of earning capacity, emotional distress, worry, anxiety, fear, fright, loss of

 enjoyment of life, decreased physical and mental functioning, disability, and medical

 expenses, and will require extensive future care, annual testing, extensive future medical

treatment, education, rehabilitation, and training.

                                                      XLIX.

          As a result of defendants” conduct, the plaintiffs suffer an increased risk of future

illness and ailments.

                                                         L.

          The plaintiffs require medical care and should undergo annual medical testing as a

result of chemical exposure contamination and/or poisoning sustained due to defendants’

conduct, and defendants are liable for these expenses.




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                                                     LI.

            As a result of the chemical exposure, contamination, and/or poisoning caused by

  defendants’ intentional and negligent conduct and the defective condition of the property

  while owned by and after it was owned by each defendant, the plaintiffs have and will not

  only suffer physical injury, but also have and will suffer anxiety, fear, and related emotional

  distress regarding the future consequences of their exposure to and contamination by these

  chemicals.                                    |

                                                     Ln        ,

            The plaintiffs are entitled to damages for pain and suffering, emotional distress, loss

  of future earnings, permanent disability, and medical costs.

                                                    LOL    '

           Plaintiffs   have,   as a result of defendants”         conduct,   sustained   loss   of earnings,

 reduction in earning capacity, negative employment consequences, loss of function
                                                                                   due to
 maladies associated with the exposure, and other economic and employment related
                                                                                  harm.

                                                    LIV.

           The injuries and damages which have been or will be sustained by the plaintiffs are
                                                                                               a
 direct consequence of the intentional willful, wanton, and reckless conduct,
                                                                              negligent acts,

 breach of law, and breach of contract by defendants.

                                                    LV.

          It is specifically alleged that the chemicals involved in this case, which were present

at 2400 Canal Street, are hazardous and/or toxic substances within the meaning of former

Louisiana Civil Code Art. 2315.3, which is applicable to this case, such that exemplary

damages are available and warranted because of defendants’ willful, wanton, and/or reckless

disregard for public safety in the transportation, storage, and/or handling of hazardous and/or

toxic substances, which occurred and caused the complained of damages.




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                                                    LVI.

            Because the acts at issue here occurred prior to the comparative fault amendments to

  the Civil Code, the responsible defendants are liable in solido, i.e.; each is responsible for

  any    Judgment against any liable defendant.

            WHERFORE, plaintiffs pray:

            I.         For service upon defendants and that after due proceedings that judgment be

  rendered herein in favor of the named plaintiffs against the defendants, the City of New

  Orleans, Pan American Life Insurance Company, and Poydras Square, Inc./NID Corporation,

  in solido, in an amount sufficient to compensate plaintiffs for the damage each of them has

  sustained, and sufficient to punish defendants, together with legal interest, costs,
                                                                                       attorneys’

  fees, and expert fees; and

           2.          For all such other relief as might be warranted by the law and nature of the

 Case.



                                                  Respectfully submitted,
                                                            t




                                                  MURPHY, ROGERS, SLOSS,
                                                  GAMBEL & TOMPKINS


                                                AQGARY J. GAMBEL (#19864)
                                                  701 Poydras Street, Suite 400
                                                  New Orleans, Louisiana    70139
                                                  Telephone:    (504) 523-0400
                                                  Facsimile:    (504) 523-5574


                                                 WILLIS & BUCKLEY, APC
                                                 JENNIFER N. WILLIS (#414877)
                                                 3723 Canal Street
                                                 New Orleans, Louisiana 70119
                                                 Telephone:     (504) 488-6301
                                                 Facsimile:     (504) 488-6302

                                                 ROY F. AMEDEE, JR. (#2449)
                                                 3723 Canal Street
                                                 New Orleans, Louisiana 70119
                                                 Telephone:     (504) 592-3222
                                                 Facsimile:     (504) 592-8783




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                                               ANTONIO CLAYTON             (#21191)
                                               CLAYTON FRUGE WARD
                                               3741 Louisiana Highway 1 South
                                               Port Allen, Louisiana     70767
                                               Telephone:     (225) 250-1435
                                               Facsimile:     (225) 383-7631


                                               ATTORNEYS FOR PLAINTIFFS



   PLEASE SERVE:

 THE CITY OF NEW ORLEANS
  Through its counsel of record
   Kimlin S. Lee, Esquire
   Deputy City Attorney
   City of New Orleans
   1300 Perdido Street, 5 Floor East
  New Orleans, Louisiana       70112



                                CERTIFICATE OF SERVICE

            1 HEREBY CERTIFY that I have on this 27" day of September,
                                                                       2019, served a copy
  of the foregoing pleading on counsel for all parties to this
                                                               proceeding, either by hand, by
  telefax, by electronic mail, or by placing same in the United
                                                                  States Mail, properly addressed,
 and first class postage prepaid.

                                                      RA
                                                      Gary J. Gámbel




                                            Page 23
4821-6098-7546, v. 1
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 80 of 114



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                                                                 CIVIL
NO.:2000.·7489                       DIVISION"L"           DISTRICT CDU§§CTION15


        THOMAS ANDERSON, individually, and ONBEHALF0F THOSE
      SIMILARLY SITUATED, ALL PERSONS WORKING AT 2400 CANAL
     STREET FROM THE DATE THE BUILDING WAS ACQUIRED BY THE
                      CITY OF NEW ORLEANS

                                        VERSUS

                                CITY OF NEW ORLEANS


FILED:
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 .                                                                           NEW W        A 70112
                          SECOND AMENDED PETITION                 m. t o                 heM 6 nun


      Plaintiffs, Thomas Anderson, Pamela Davenport, Evelle Thälna , u                       r us a             .

and Joseph Wong, individually and on behalf of those similarly situat_eddll.Reh          PWhb

have been exposed to or contaminated by toxic, hazardous chemicals present It
                                                                                   Omnse Due 8           0.00
premises at 2400 Canal Street, respectfully represent:

                                            L

      Plaintiffs wish to supplement and amend their Original and First Amended

Petitionsbyamendingthefollowingparagraphs:

                                           24.

      Made an additional defendant is Pan American Life Insurance Company ("Pan

Am"), a Louisiana insurance company having its principal place of business in New

Orleans,Louisiana. Pan Am is the fonnerownerefthepremises and improvements

located at 2400 Canal Street.                                                                           LLJ

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                                       Page I of 4                                          10n
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         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 81 of 114



                                           25.

      The chemicals described in plaintiffs' original petition which were stored at 2400
Canal Street and which injured the plaintiffs were placed on the premises by Pan Am

during the period of its ownership of the premises. The chemicals described in the

Petition were, upon information and belief, used by Pan Am to clean its printing presses.

                                            IL
      Plaintiffs wish to supplement and amend their Original and First Amended

Petitions by adding the following additional paragraphs:

                                            31.

      The chemicals placed on the premises by Pan Am were stored in containers not

intended forlong-tenn use,whichPan Am knew or should have known. The caustic

nature of the chemicais caused deterioration of the containers, resulting in leakage,

spillage and/or diffusion of chemical vapors. These chemicals contaminated the

premises at 2400 Canal Street by, ainong other means, transmission through the

building's ventilation system.
                                            32.
       The contamination of the premises by these ehemicais began during the period of

Pan Am's occupancy of2400 Canal Street and continued and intensified as the

containers continued to deteriorate until the chemicals were removed.in December 1999.

The building remains contaminated and dangerous.
                                            33.

       The plaintilTs, persons exposed to the chemicals, primarily employees ofthe City

ofNew Orleans and/or Pan Am, were continuously exposed to these chemicals

throughouttheperiodofdefendants'occupancy.

                                            34.

       Pan Am, who initiaHy placed these hazardous chemicals in the premises, had a

duty to safely and properly store and/or remove of these chemicals. Pan Am breached its


                                        Page2of 4
            Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 82 of 114




duty to plaintiffs through the following non-exclusive particulars:
       a.      Piacing and/or storing dangerous chemicals in containers not intended for
               long4enn storage;
       b.      Providing defective, improper and unsafe containers for the chemicals;

       c.      Placing and/or storing dangerous chemicals in a location with inadequate
               protection against chemical contamination;

       d.      Placing dangerous chemicals in a location where toxic, hazardous chemical
               vapors could be transmitted throughout the premises by the ventilation
               system;

       e.      Failingtowarnsubsequentowners/ cupantsoftheptemisesthat
               chemicals with toxic and hazardous propensities were stored on the
               premises;

      -f.      Failingtowarnsubsequentowners/occupantsofthepremisesthatthe
               chemicals stored on the premises had toxia, hazardous properties;

       g.      Failing to dispose of the chemicals stored on the premises when the
               building was transferred to subsequent owners/occupants;

       h.      Concealingthedangerspresentedtooccupantsofthepretnisesbythe
               chernicalsandtheircontainers;

       L       Concealing from plaintiffs the fact that they had been or were being
               exposed to the chemical; and

       J.      All other acts of negligence to be shown at trial

                                              35.
-      Pan Am's breach of its duty to safely and properly store and/or dispose ofthese

chemicals caused injury to the plaintiffs.

       WIEREFORF.plaintiffsreiteratealloftheaIlegationsoftheirOriginalandFin.t
Amended Petitions and further pray:

       1.      That Judgment be rendered herein declaring and certifying this cause as a
class action and for all other orders necessary pursuant thereto;

       2.      That there be judgment rendered herein in favor of the named plaintiffs and

all those similarly situated, against the defendant, the City of New Orleans and Pan

American Life Insurance Company, in an amount sufficient to compensate the named

plaintiffs and all those similarly situated for the damage each of them has sustained, and

snflicient to punish defendants, together with legal interest, costs, attorney's fees and

                                         Page3of 4
            Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 83 of 114



expert fees;

       3.       For a trial byjuty on all issues; and

       4.       For all such other further relief as might be warranted by the law and nature

ofthecase.

                                            RespectfuRy submitted,

                                            MURPHY, ROGERS & SLOSS



                                            Gary J. Gambbl(#19 64)
                                            MoHy B. Halloran (#22409)
                                            One Shell Square
                                            701 Poydras Sheet, Suite 400
                                            New Orleans,Louisiana 70139
                                            Telephone: (504) 523.0400
                                            Facsimile:    (504) 523-5574

                                            and

                                            CATER & WILLIS
                                            JenniferN.Willis(#14877)
                                            Samuel O. Buckley, III (#3632 )
                                            R. Glenn Cater (#4048)
                                            3723 Canal Street
                                            New Orleans, Louisiana 70119
                                            Telephone: (504)488-6300
                                            Facsimile: (504)488-6302
                                            Attorneys for Petitioners


PLEASE SERVE:
Pan American Life Insurance Company
Throughitscounselofrecork
Danyl J. Foster, Esq.
LEMLE & KELLEHER, LL.P.
21" Floor, Pan American Life Center
601 Poydras Street
NewOrleans,LA 70130-6097




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   Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 84 of 114


                                                                 ED
            CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                              322 P 2
                                    STATE OF LOUISIANA
                                                             r ìViL
                                                         g3TÉCT CO
NO.: 2000-7489                         DIVISION "B"                                 SECTION 15


  THOMAS ANDERSON, individually, and ON BEHALF OF THOSE SIMILARLY
  SITUATED, ALL PERSONS WORKING AT 2400 CANAL STREET FROM THE
             DATE THE BUILDING WAS ACQUIRED BY THE
                      CITY OF NEW ORLEANS

                                          VERSUS

                                   CITY OF NEW ORLEANS



FILED:
                                                                DEPUTY CLERK


                                  THIRD AMENDED PETITION


       Plaintiffs, Thomas Anderson, Pamela Davenport, Evelle Thomas, June Harvey, and

Joseph Wong, individually and on behalfofthose similarly situated, all 540r
                                                                            421 LOYOLA AVENUE
exposed to or contaminated by toxic, hazardous chemicals present on the p n                   Ö Ânal

Street, respectfully represent:                                     a    n c1k 1          6        5 at
                                                                   case : 00 7489        cash
                                                L                  y             AyHmse Pam0Ns
                                                                         1 9 $     90.00  $    90.00
       Plaintiffs wish to supplement and amend their Original, Amended, and SqqpademgiidëcT

Petitions by adding the following paragraphs:                                    che>:k Amount $          90.00
                                                36.                                chanse Due $            0.00


        Made additional defendants are Poydras Square, Inc., a Louisiana corporation having its

principal place of business in New Orleans, and New Orleans Centre Associates, a Louisiana

partnership in commendam having its principle place of business in New Orleans. These

defendants are hereafter collectively referred to as "Poydras Square."

                                                37.

        The chemicals described in plaintiffs' original petition which were stored at 2400 Canal

Street and which injured the plaintiffs were placed on the premises by Pan American Life

Insurance Company ("Pan Am") during the period ofits ownership ofthe premises. Subsequent

 o the ownership of the property by Pan Am, the real property was acquired by Poydras Square.

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   Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 85 of 114




                                               38.

       Although Poydras Square did not buy the chemicals from Pan Am, Poydras Square

allowed the chemicals to remain in the property during Poydras Square's ownership of

2400 Canal Street. Poydras Square failed to appropriately dispose of the chemicals, failed to

institute appropriate environmental cleanup measures, and failed to warn plaintiffs and others

of the dangers posed by the chemicals.

                                               39.

       The contamination of the 2400 Canal Street building with the chemicals, which began

during Pan Am's ownership of the property, continued and intensified during Poydras Square's

ownership.

                                               40.

       Poydras Square had a duty to safely dispose of the chemicals and to warn plaintiffs and

others who might be affected by the contamination; it breached those duties and plaintiffs

suffered harm as a result.



       WHEREFORE, plaintiffs reiterate all of the allegations of their Original, First, and

Second Amended Petitions and further pray:

        1.     That judgment be rendered herein declaring and certifying this cause as a class

action and for all other orders necessary pursuant thereto;

       2.      That there be judgment rendered herein in favor of the named plaintiffs and all

those similarly situated, against the defendants, the City of New Orleans, Pan American Life

Insurance Company, Poydras Square, Inc., and New Orleans Centre Associates, in an amount
                                                                                                     I

sufficient to compensate the named plaintiffs and all those similarly situated for the damage each

of them has sustained, and sufficient to punish defendants, together with legal interest, costs,

attorney's fees and expert fees;




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        3.    For a trial by jury on all issues; and

        4.   For all such other further relief as might be warranted by the law and nature of

the case.

                                              Respectfully submitted,

                                              CATER & WILLIS




                                              Jennifer N. Willis (#14877)
                                              R. Glenn Cater (#4048)
                                              3723 Canal Street
                                              New Orleans, Louisiana 70119
                                              Telephone: (504) 488-6300
                                              Facsimile:     (504) 488-6302

                                              and

                                              MURPHY, ROGERS, SLOSS & GAMBEL
                                              Gary J. Gambel (#19864)
                                              Molly B. Halloran (#22409)
                                              One Shell Square
                                              701 Poydras Street, Suite 400
                                              New Orleans, Louisiana 70139
                                              Telephone: (504) 523-0400
                                              Facsimile:    (504) 523-5574

                                              Attorneys for Petitioners


PLEASE SERVE:

THE CITY OF NEW ORLEANS
Through its attorney of record:
John M. Holahan, Jr., Esquire
Assistant City Attorney
City of New Orleans
1300 Perdido Street
New Orleans, Louisiana 70112

PAN AMERICAN LIFE INSURANCE COMPANY
Through its attorney of record:
Darryl J. Foster, Esquire
Lemle & Kelleher, L.L.P.
21" Floor, Pan American Life Center
601 Poydras Street
New Orleans, Louisiana 70130-6097

POYDRAS SQUARE, INC.
Through its agent for service of process:
The Prentice-Hall Corporation System, Inc.
203 Carondelet Street, Suite 811
New Orleans, Louisiana 70130

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                                               -3-
   Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 87 of 114




NEW ORLEANS CENTRE ASSOCIATES
Through its general partner: Poydras Square, Inc.
Through its agent for service of process:
The Prentice-Hall Corporation System, Inc.
203 Carondelet Street, Suite 811
New Orleans, Louisiana 70130




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         CIVIL DISTRICT COURT FOR THE PARISH OF                             ANS

                             STATE OF LOUISIANA


NO.: 2000-7489                       DIVISION "B"                           SECTION 15


     THOMAS ANDERSON, individually, and ON BEHALF OF THOSE
   SIMILARLY SITUATED, ALL PERSONS WORKING AT 2400 CANAL
  STREET FROM THE DATE THE BUILDING WAS ACQUIRED BY THE
                   CITY OF NEW ORLEANS

                                       VERSUS

                            CITY OF NEW ORLEANS



FILED:
                                                             DEPUTY CLERK




                                       ORDER

      IT IS ORDERED that the foregoing Third        ended Petition be filed herein.

      New Orleans, Louisiana, this       tlay of                             , 2005.




                                                   JUDGE, Division "B"




                                           -5-
            Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 89 of 114




           CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                   STATE OF LOUISI           A

NO.:                                   DIVISION " "                        SECTIO

           THOMAS ANDERSON, PAMELA DAVENPORT,
 EVELLE THOMAS, JUNE HARVEY, JOSEPH WONG, INDIVIDUALLY and
          ON BEHALF OF THOSE SIMILARLY SITUATED,
                  ALL PERSONS EXPOSED TO
              CHEMICALS AT 2400 CANAL STREET

                                             versus                                                n

                                   CITY OF NEW ORLEANS

FILED:
                                                                      DEPUTY CLERK

                                   PETITION FOR DAMAGES


       The Petition of Thomas Anderson, Pamela Davenport, Evelle Thomas, June Harvey, and

Joseph Wong, Individually and on behalf of those similarly situated, all persons who have been

exposed to or contaminated by toxic, hazardous chemicals present on the premises at 2400 Canal

Street, respectfully represents:

                                                1.

       The following party is made defendant herein:

        The City ofNew Orleans, which owns, operates and maintains a building known as the City

Hall Annex located at 2400 Canal Street, in the Parish of Orleans and which, in said capacity, is

responsible for the operation, management, maintenance, and condition of that building.

                                                2.                                                     .




        Defendant, City of New Orleans, negligently and intentionally caused and/or allowed there

to be present on its property at 2400 Canal Street, dangerous levels of hazardous chemicals,

including potassium hydroxide, hydrochloric acid and hydrofiboric acid, which have caused and

continue to cause contamination of the premises as well as health problems and personal injury to

persons working in the building.

                                                3.

        The named plaintiffs are members of a class, and are representative of all those persons

similarly situated, harmed due to exposure to or contamination by chemicals present at 2400

Canal Street.
             Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 90 of 114




                                                 4.

       This is a class action instituted pursuant to the provisions of Article 591, gt sg of the

Louisiana Code of Civil Procedure by petitioners on their own behalf and as members of the

class of all similarly situated persons who have sustained damages arising or resulting from the

circumstances, events, acts and omissions complained of herein, specifically, all persons who

sustained harm due to the presence of and exposure to hazardous chemicals at the building at

2400 Canal Street.

                                                 5.

       Petitioners are entitled to have this cause maintained as a class action pursuant to

Louisiana Code of Civil Procedure, Article 591, eReg, for the following reasons:

       a)      The persons constituting the class are so numerous that the individual joinder of
               all parties is impractical;

       b)      There exists a common character among the rights sought to be enforced on
               behalf of the class among the named class representatives and the unnamed
               members of the class;

       c)      The named plaintiffs or representatives of the class are all members of the class
               and are so situated as to provide adequate representation for the unnamed class
               members;

       d)      The unnamed class members have no substantial interest in individually
                controlling the prosecution of their separate actions;

        e)      There are common questions and issues of law and fact involved in this matter
                which predominate over questions affecting individual class members;

        f)      Any defenses or theories of resistance to liability created by the defendants would
                be applicable to all claims presented by the members of the class;

        g)      Prosecution and separate actions by individual class members will create a serious
                risk of inconsistent or varying adjudications which may prejudicially affect the
                claims of other class members in subsequent litigation;

        h)      The prosecution of separate actions by the individual class members poses the risk
                that the separate adjudications respecting individual claimants would not be
                entirely dispositive of the interest of class members not parties to the litigation or
                would otherwise substantially impair or impede the ability of the class members
                to protect their interests;

        i)      The class action is a superior procedural vehicle for this litigation because the
                primary objectives of the class action, economies of time, effort and expense, will
                be achieved principally because:

                1)      Questions of law of fact common to the class members predominate over
                        questions affecting only individual members;

                2)      Any defenses would be generally applicable to all members of the class;


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               3)     It is desirable to litigate this matter in a single forum where substantially
                      all witnesses, class members and properties are located, and where the
                      identity of the main issues of liability and all claims leads to a prompt,
                      efficient, and relatively inexpensive trial;

               4)     The number of plaintiffs in this matter are so numerous that requiring
                      separate suits would prove an onerous burden to the court;

               5)     The majority of the class members have neither the resources nor the
                      interest in maintaining or controlling the litigation brought on their behalf
                      in separate suits;

               6)      There may be some difficulty in identifying all members of the class, even
                       though the class is adequately identified, thus the unnamed class members
                       may not be afforded protection or relief if it were not for the procedural
                       vehicle of a class action;

               7)      Many class members may not be aware of their rights or of the harm
                       caused them, due to concealment or other acts by defendant;

               8)      Through the vehicle of the class action, the court may adopt a management
                       plan relative to all aspects of this litigation.

               9)      The class action vehicle would best insure procedural fairness to class
                       members in that its utilization would avoid prejudicial or inconsistent
                       precedence of claims, first adjudicated, were the claims to be individually
                       litigated; and

               10)     The vehicle of the class action may be more easily managed than some
                       other procedural vehicle considering the opportunity to afford reasonable
                       notice of significant phases of the litigation, including discovery, to class
                       members.

                                                 6.

       Defendant has, at all material times, been aware that hazardous, dangerous chemicals

were present on the premises at 2400 Canal Street, which would cause injury to those exposed to

the chemicals stored on the property.

                                                 7.

       Despite defendant's knowledge of the risk presented by these chemicals, it (intentionally

recklessly and callously) nonetheless ordered petitioners and those similarly situated to work in

this dangerous environment with constant exposure to deadly, dangerous, hazardous, and harmful

chemicals, and thereby knowingly and intentionally caused great harm to the named plaintiffs

and others similarly situated.

                                                 8.

       Despite defendant's knowledge that the hazard presented by the dangerous chemicals,

was substantially certain to injure plaintiffs, the defendant did not discharge its duty to the named

                                               ;25 7
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             Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 92 of 114




plaintiffs and those similarly situated to inspect and eliminate the dangers attendant to the

presence, improper storage and inadequate monitoring of chemicals in the office building located

at 2400 Canal Street.

                                                 9.

        As owner of the building, defendant has an obligation to maintain the building in a

decent, safe, sanitary and non-defective condition.

                                                 10.

        The failure of defendant to provide a safe building and suitable workplace constitutes a

breach of the contract between defendant and each and every named plaintiff and those similarly

situated.

                                                 11.

        Defendant's conduct constitutes a breach of applicable law, regulations, and codes.

                                                 12.

        Defendant's conduct was intentional and was in gross, callous disregard for the known

harm that was certain to befall petitioners.

                                                 13.

        Defendant was intentional and tortious in the following non-exclusive particulars:

        a.     Defendant knew of the hazardous, dangerous and non-apparent defects
               complained of herein and yet took no action to alleviate the health hazard;

        b.     Defendant breached the standard of care owed to the named plaintiffs and those
               similarly situated to provide a decent, safe, non-hazardous and sanitary building;

        c.     Defendant violated regulations, code provisions, and laws by improperly storing
               chemicals at this office building;

        d.     Defendant intentionally concealed the presence of hazardous chemicals in the
               building and failed to take reasonable precautions, to the detriment of the named
               plaintiffs and those similarly situated;

        e.     Defendant breached its contractual and its delictual duties to the named plaintiffs
               and others similarly situated;

        f.     Defendant intentionally caused harm to the named plaintiffs and those similarly
               situated by forcing them to work and transact business in a location known to be
               contaminated; and

        g.     Defendant is also responsible and liable for such other negligent, intentional
               and/or criminal acts which may be discovered during investigation and trial of this
               matter.




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           Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 93 of 114




                                                    14.

       The chemical exposure, contamination and/or poisoning has caused and will continue to

cause severe health problems, a lifetime of illness, pain and suffering, loss of wages, loss of

earning capacity, emotional distress, worry, anxiety, fear, fright, loss of enjoyment of life,

decreased physical and mental functioning, and disability, and will require extensive future care,

annual testing, extensive future medical treatment, education, rehabilitation and training.

                                                    15.

       As a result of defendant's conduct, the named plaintiffs and those similarly situated suffer

an increased risk of future illness and ailments.

                                                    16.

       The named plaintiffs, and those similarly situated, require medical care and should

undergo annual medical testing as a result of the chemical exposure contamination and/or

poisoning sustained due to defendant's conduct, and defendant is liable for these expenses.

                                                    17.

       In addition to the lifelong consequences upon the named plaintiffs and those similarly

situated, the chemical exposure, contamination and/or poisoning also presents a risk of harm to

the named plaintiffs' and those similarly situated's spouses, children and future children and this

compounds the anxiety, distress and suffering associated with defendant's conduct.

                                                    18.

       As a result of the chemical exposure, contamination and/or poisoning caused by

defendant's intentional and negligent conduct, and the defective condition of defendant's

property, the named plaintiffs and those similarly situated will not only suffer physical injury,

but will also suffer anxiety, fear and related emotional distress regarding the future consequences

of their exposure to and contamination by these chemicals.

                                                    19.

       Your named plaintiffs and/or their spouses and children and those similarly situated have

or will suffer a loss of society, companionship, services, enjoyment of life and other elements of

consortium.




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                                                 20.

       The named plaintiffs and those similarly situated are entitled to damages for pain and

suffering, emotional distress, loss of consortium, loss of future earnings, permanent disability

and medical costs.

                                                 21.

       Petitioners and those similarly situated have, as a result of defendant's conduct, sustained

loss of earnings, reduction in earning capacity, negative employment consequences, loss of

ftmetion due to maladies associated with the exposure and other economic and employment

related harm.

                                                 22.

       The injuries and damages which have been or will be sustained by the named plaintiffs

and those similarly situated are a direct consequence of the intentional conduct, negligent acts,

breach of law and breach of contract by defendant.

                                                 23.

        It is specifically alleged that the chemicals involved in this case, which were or are

present at 2400 Canal Street, are hazardous and/or toxic substances within the meaning of

Louisiana Civil Code Art. 2315.3, which is applicable to this case, such that exemplary damages

are available and warranted because of defendant's willful, wanton, and/or reckless disregard for

public safety in the transportation, storage and/or handling of hazardous and/or toxic substances,

which occurred and caused the complained of damages.



       WHEREFORE, the named plaintiffs on their own behalf and on behalf of all those

similarly situated pray:

        (1)      That judgment be rendered herein declaring and certifying this cause as a class

action and for all other orders necessary pursuant thereto;

       (2)       That there be judgment rendered herein in favor of the named plaintiffs and all

those similarly situated, against the defendant herein, in an amount sufficient to compensate the

named plaintiffs and all those similarly situated for the damage each of them has sustained, and

sufficient to punish defendant, together with legal interest, costs, attorney's fees and expert fees;

and


                                                  6
              Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 95 of 114




        (3)      For all such other further relief as might be warranted by the law and nature of the

case.

                                               Respectfully submitted,

                                               MURPHY, ROGERS & SLOSS




                                               Gary J. Gambel (#198 4)
                                               Molly B. Halloran (#22409)
                                               One Shell Square
                                               701 Poydras Street, Suite 400
                                               New Orleans, Louisiana 70139
                                               Telephone: (504) 523-0400
                                               Facsimile:    (504) 523-5574

                                                and

                                               CATER & WILLIS
                                               Jennifer N. Willis (#14877)
                                               Samuel O. Buckley, III (#3632 )
                                               R. Glenn Cater (#4048)
                                               3723 Canal Street
                                               New Orleans, Louisiana 70119
                                               Telephone: (504) 488-6300
                                               Facsimile:     (504) 488-6302

                                               Attorneys for Petitioners


PLEASE SERVE:

The City of New Orleans
Through Mayor Marc Morial
1300 Perdido Street
New Orleans, LA 70112
        Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 96 of 114



             CIVIL DISTRICT COURT FOR THE PARISH d                   R     NS

                               STATE OF LOUISIANA

NUMBER:                              DIVISION "E"                            DON
                                                                     Coy
      THOMAS ANDERSON, individually, and ON BEHALF OF THOSE
    SIMILARLY SITUATED, ALL PERSONS WORKING AT 2400 CANAL
   STREET FROM THE DATE THE BUILDING WAS ACQUIRED BY THE
                    CITY OF NEW ORLEANS

                                             versus

                        CITY OF NEW ORLEANS,
                 HOUSING AUTHORITY OF NEW ORLEANS,
         C. J. BROWN PUBLIC HOUSING MANAGEMENT COMPANY,
                     XYZ INSURANCE COMPANY, and
             LOUISIANA INSURANCE GUARANTY ASSOCIATION



FILED:
                                                      DEPUTY CLERK

                                AMENDED PETITION

      Plaintiffs, Thomas Anderson, Pamela Davenport, Evelle Thomas, June Harvey, and

Joseph Wong, Individually and on behalf of those similarly situated, all persons who have

been exposed to or contaminated by toxic, hazardous chemicals present on the premises at

2400 Canal Street, respectfully represent:

                                               I.

       Plaintiffs wish to supplement and amend the Original Petition by adding the

following additional paragraphs:

                                              24.

      Made an additional defendant is Pan American Life Insurance Company ("Pan Am"),

a Louisiana insurance company having its principal place of business in New Orleans,

Louisiana.

                                              25.

      The chemicals described in plaintiffs' original petition which were stored at 2400

Canal Street and which injured the plaintiffs were placed on the premises by Pan Am.


                                       Page 1 of 3
         Case 2:24-cv-01157 Document 1-3 Filed 05/06/24 Page 97 of 114



                                                26.

        The storage of the chemicals by Pan Am created an unreasonably dangerous

condition for subsequent occupants of the property, including the plaintiffs in this lawsuit.

                                                27.

        The storage of the chemicals by Pan Am was illegal, and the extremely dangerous

properties of the chemicals were concealed from the plaintiffs by Pan Am.

                                                28.

        The injuries suffered by the plaintiffs are the direct result of Pan Am's wrongful

conduct in illegally storing the chemicals and in willfully concealing the dangerous

properties of the chemicals and the associated health risks from the plaintiffs.

                                                29.

        These actions make Pan Am liable not only for damages designed to compensate the

plaintiffs for their injuries but also for exemplary damages as set out in paragraph 23 of

plaintiffs' original petition.

                                                30.

        Plaintiffs are entitled to a trial by jury in this case.

        WHEREFORE,plaintiffs reiterate all ofthe allegations oftheir original petition and

further pray:

        1. That judgment be rendered herein declaring and certifying this cause as a class

action and for all other orders necessary pursuant thereto;

        2. That there be judgment rendered herein in favor of the named plaintiffs and all

those similarly situated, against the defendant, the City ofNew Orleans and Pan American

Life Insurance Company, in an amount sufficient to compensate the named plaintiffs and all

those similarly situated for the damage each of them has sustained, and sufficient to punish

defendants, together with legal interest, costs, attorney's fees and expert fees; and

        3. For all such other further relief as might be warranted by the law and nature ofthe

case.


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                                            Respectfully submitted,

                                            MURPHY, ROGERS & SLOSS




                                            Gary J. Gambel (#19864)
                                            Molly B. Halloran (#22409)
                                            One Shell Square
                                            701 Poydras Street, Suite 400
                                            New Orleans, Louisiana 70139
                                            Telephone:    (504) 523-0400
                                            Facsimile:    (504) 523-5574

                                            and

                                            CATER & WILLIS
                                            Jennifer N. Willis (#14877)
                                            Samuel O. Buckley, III (#3632 )
                                            R. Glenn Cater (#4048)
                                            3723 Canal Street
                                            New Orleans, Louisiana 70119
                                            Telephone: (504) 488-6300
                                            Facsimile: (504) 488-6302

                                            Attorneys for Petitioners


PLEASE SERVE:

Pan American Life Insurance Company
Through its agent for service of process:
Raymond J. Munna
William T. Steen
Legal Department
601 Poydras Street
New Orleans, LA 70130




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          CIVIL DISTRICT COURT FOR THE PARISH                       R EANS

                                STATE OF LOUISIANA


NO.: 2000-7489                      DIVISION "L"                c       SECTION 15
                                                              ïRICT COURT

      THOMAS ANDERSON, individually, and ON BEHALF OF THOSE
    SIMILARLY SITUATED, ALL PERSONS WORKING AT 2400 CANAL
   STREET FROM THE DATE THE BUILDING WAS ACQUIRED BY THE
                    CITY OF NEW ORLEANS

                                        VERSUS

                                CITY OF NEW ORLEANS



FILED:
                                                 DEPUTY CLERK


                          SECOND AMENDED PETITION


      Plaintiffs, Thomas Anderson, Pamela Davenport, Evelle Thomas, June Harvey,

and Joseph Wong, individually and on behalf of those similarly situated, all persons who

have been exposed to or contaminated by toxic, hazardous chemicals present on the

premises at 2400 Canal Street, respectfully represent:

                                            I.

      Plaintiffs wish to supplement and amend their Original and First Amended

Petitions by amending the following paragraphs:

                                           24.

      Made an additional defendant is Pan American Life Insurance Company ("Pan

Am"), a Louisiana insurance company having its principal place of business in New

Orleans, Louisiana. Pan Am is the former owner of the premises and improvements

located at 2400 Canal Street.




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                                            25.

      The chemicals described in plaintiffs' original petition which were stored at 2400

Canal Street and which injured the plaintiffs were placed on the premises by Pan Am

during the period of its ownership of the premises. The chemicals described in the

Petition were, upon information and belief, used by Pan Am to clean its printing presses.

                                            II.

       Plaintiffs wish to supplement and amend their Original and First Amended

Petitions by adding the following additional paragraphs:

                                            31.

       The chemicals placed on the premises by Pan Am were stored in containers not

intended for long-term use, which Pan Am knew or should have known. The caustic

nature of the chemicals caused deterioration of the containers, resulting in leakage,

spillage and/or diffusion of chemical vapors. These chemicals contaminated the

premises at 2400 Canal Street by, among other means, transmission through the

building's ventilation system.

                                            32.

       The contamination of the premises by these chemicals began during the period of

Pan Am's occupancy of2400 Canal Street and continued and intensified as the

containers continued to deteriorate until the chemicals were removed in December 1999.

The building remains contaminated and dangerous.

                                            33.

       The plaintiffs, persons exposed to the chemicals, primarily employees of the City

of New Orleans and/or Pan Am, were continuously exposed to these chemicals

throughout the period of defendants' occupancy.

                                            34.

       Pan Am, who initially placed these hazardous chemicals in the premises, had a

duty to safely and properly store and/or remove of these chemicals. Pan Am breached its


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duty to plaintiffs through the following non-exclusive particulars:

      a.     Placing and/or storing dangerous chemicals in containers not intended for
             long-term storage;
      b.     Providing defective, improper and unsafe containers for the chemicals;

       c.     Placing and/or storing dangerous chemicals in a location with inadequate
              protection against chemical contamination;

       d.     Placing dangerous chemicals in a location where toxic, hazardous chemical
              vapors could be transmitted throughout the premises by the ventilation
              system;

       e.     Failing to warn subsequent owners/occupants of the premises that
              chemicals with toxic and hazardous propensities were stored on the
              premises;

       f.     Failing to warn subsequent owners/occupants of the premises that the
              chemicals stored on the premises had toxic, hazardous properties;

       g.     Failing to dispose of the chemicals stored on the premises when the
              building was transferred to subsequent owners/occupants,

       h.     Concealing the dangers presented to occupants of the premises by the
              chemicals and their contamers,

       i.     Concealing from plaintiffs the fact that they had been or were being
              exposed to the chemical; and

       j.     All other acts of negligence to be shown at trial.

                                             35.

       Pan Am's breach of its duty to safely and properly store and/or dispose of these

chemicals caused injury to the plaintiffs.

       WHEREFORE, plaintiffs reiterate all of the allegations of their Original and First

Amended Petitions and further pray:

       1.     That judgment be rendered herein declaring and certifying this cause as a

class action and for all other orders necessary pursuant thereto;

       2.     That there be judgment rendered herein in favor of the named plaintiffs and

all those similarly situated, against the defendant, the City ofNew Orleans and Pan

American Life Insurance Company, in an amount sufficient to compensate the named

plaintiffs and all those similarly situated for the damage each of them has sustained, and

sufficient to punish defendants, together with legal interest, costs, attorney's fees and

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expert ees;

        3.      For a trial by jury on all issues; and

       4.       For all such other further relief as might be warranted by the law and nature

of the c ase.

                                             Respectfully submitted,

                                             MURPHY, ROGERS & SLOSS




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                                             Molly B. Halloran (#22409)
                                             One Shell Square
                                             701 Poydras Street, Suite 400
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                                             and

                                             CATER & WILLIS
                                             Jennifer N. Willis (#14877)
                                             Samuel O. Buckley, III (#3632 )
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                                             3723 Canal Street
                                             New Orleans, Louisiana 70119
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                                             Facsimile: (504) 488-6302

                                             Attorneys for Petitioners


PLEA 540E
       SERVE:

Pan An erican Life Insurance Company
Throug l its counsel of record:
Darryl . Foster, Esq.
LEMLE & KELLEHER, L.L.P.
21" Floar, Pan American Life Center
601 Povdras Street
New Orleans, LA 70130-6097




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                                                                                     202WR -1 AM        04
              CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS                                  CML
                                                                                       DISTRICT COURT
                                   STATE OF LOUISIANA

NO. 2000-7489                                                                        DIVISION: "J"
                               THOMAS ANDERSON, ET AL.
                                            VERSUS                         .

                             CITY OF NEW ORLEANS, ET AL.

FILED:
                                                      DEPUTY CLERK

                                  THIRD PARTY PETITION

       NID Corporation ("NID"), as Third Party-Plaintiff herein, files this third party petition
                                                    CHELSEY RICHARD NAPOLEON
against its liability insurers who have a duty to defebElFåndciMedinfry H'ID 'ä§WiMi and for all or
                                                    402 CP,/lL COURTS BUILDING
part of the Plaintiffs' principal demands, representiíQ¹ub'öhTnforfîìátìò½¶nf6èfièf'aš2follows:
                                                   NEW ORLEANS, LA70112
                                                 1 504 - 407 - 0000
                                                    R e o e I pt Date   3/1/2024 11 :10£
       Made Third Party Defendants are:             Re ceipt Number      062199
                                                    Cashier             odickerson
           (a) The Continental Insurance Compgggig'ontinental'') a                ( ingjg¡porporation

               engaged in the insurance business vfith5a Wat-u'töry homèf6fficíPáf5principal place
                                                    e r a n d Total       144.50
               of business located at 151 North FrgggjÜnytrgegt         ca o,g0606, which at all
                                                    Balance Due         $ O.00
               times was authorized to and in fact gsgggpgsiness ip fly State of Louisiana;

           (b) Travelers Casualty and Surety Com]fåtyr(MTWelen'3);üroipbration organized and
                                                    C h e ok # 24233 $1 44.50
               existing under the laws of the State of Connecticut with its principal place of

               business in Hartford, Connecticut, whieh-at+144imes-was-authorized-te· and in fact
                                                    Ite m                      ChaIge d
               transacting business in the State of EtMfiftda,'Ãhd ßhich was?ñól@rly known as
                                                    arty De mand
               "The Aetna Casualty and Surety CohlpMif¶ Eng Fee                   $25.00
                                                    JSC                           $29.50
           (c) Fireman's Fund Insurance Company ("FFIC"), a corporation organized and

               existing under the laws of Illinois with its principal place of business in Chicago,

               Illinois, and which at all times was authorized to and in fact transacting business in

               the State of Louisiana;

(Continental, Travelers, and FFIC are sometimes referred to collectively as "Third Party Insurer

Defendants" or each/any individually as "Third Party Insurer Defendant").




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                                                 2.

       On May 16, 2000, Plaintiffs initiated the principal demands herein against the City of New

Orleans ("the City") as a putative class action by filing their Petition for Damages asserting claims

seeking damages for alleged exposures to dangerous substances allegedly stored in the basement

of a building located at 2400 Canal Street in New Orleans, Louisiana known as the City Hall

Annex (the "Property").

                                                 3.

       During 2001, Plaintiffs filed their First Amended Petition and Second Amended Petition

herein naming Pan American Life Insurance Company ("Pan Am") as defendant and seeking

damages for alleged exposure to dangerous substances allegedly stored in the Property.

                                                 4.

       Plaintiffs filed their Third Amended Petition on or about June 22, 2005, naming Poydras

Square, Inc. ("PSI") and New Orleans Centre Associates ("NOCA") as additional defendants from

which Plaintiffs seek damages for alleged exposure to dangerous substances allegedly stored in

the Property.

                                                 5.

       On September 27, 2019, Plaintiffs filed their Fourth Amended Petition herein naming

"Poydras Square Properties, LLC (NID Corporation)" as an additional defendant from which

Plaintiffs seek damages for alleged exposure to dangerous substances allegedly stored in the

Property.

                                                 6.

       Poydras Square Associates ("PSA") once had a limited interest in the Property during

certain times. At all material times, PSA's sole general partner was PSI. PSA was a partnership

between PSI (75% interest) and an affiliated Louisiana corporation, Lake Charles Mall, Inc. (25%

interest). In December 1989, PSA changed its name to New Orleans Centre Associates ("NOCA").

In August 1994, NOCA was dissolved by written agreement of its general partner, PSI, and its

limited partner, Lake Charles Mall, Inc. ("LCM"). At all material times, LCM's and PSI's sole

shareholder was the Edward J. DeBartolo Corporation. LCM was dissolved by affidavit in March

1995. PSI was dissolved by affidavit in April 1995. On February 12, 2001, The Edward J.

DeBartolo Corporation changed its name to NID Corporation.




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                                                  7.

       Plaintiffs allege in their principal demand herein, among other things and subject to their

specific wording, that NID is liable to pay damages caused by means of an accident and/or

continuous or repeated exposures to conditions, which resulted in Plaintiffs' alleged bodily injuries

due to alleged exposures to toxic materials during the time period of August 10, 1982 through

December 9, 1999.

                                                  8.

       NID denies liability for Plaintiffs' claims and damages alleged herein and reiterates and

reavers by reference all of its denials and defenses to same set forth in its Exceptions and Answers

and affirmative defenses filed herein. To the extent NID is liable for Plaintiffs' claims herein,

however, the Third Party Insurer Defendants owe NID indemnity therefore or payment thereof in

accordance with the terms of their liability insurance policies issued to NID.

                                                  9.

       Continental issued various liability insurance policies, which, subject to their terms,

conditions, limitations and exclusions, insure NID and pursuant to which, if NID be found liable

herein, Continental is or will be obligated to indemnify NID (and/or be liable to plaintiffs directly)

for all or part of Plaintiffs' principal demands herein against NID, including without limitation the

following (the "Continental Policies"):

       (a)    CGL Policy No. CBP102380 with a policy period of July 1, 1980 to December 31,
              1983 (cancelled effective December 31, 1982);

        (b)   CGL Policy No. CBP917871 with a policy period of December 31, 1982 to
              December 31, 1985 (cancelled effective December 31, 1984);

        (c)   CGL Policy No. L991494 with a policy period of December 31, 1987 to December
              31, 1988;

        (d)   CGL Policy No. CLP9992287 with a policy period of December 31, 1988 to
              December 31, 1991;

        (e)   CGL Policy No. CBP9994326-94 with a policy period of December 31, 1991 to
              December 31, 1993;

       (f)    CGL Policy No. CBP9994326-96 with a policy period of December 31, 1993 to
              December 31, 1994;

       (g)    Commercial Catastrophe Coverage Policy No. CBP9994326-94 with a policy period
              of December 31, 1991 to December 31, 1993;

        (h)   Commercial Catastrophe Coverage Policy No. CBP9994326-96 with a policy period
              of December 31, 1993 to December 31, 1994;

        (i)   General Liability policy No. L3562156 issued by Fidelity & Casualty (which is upon
              information and belief a wholly-owned subsidiary of Continental) for the period

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              December 31, 1993-December 31, 1994;

       (j)    Excess Umbrella Policy No. SRX 3196775 with a policy period of July 1, 1981 to
              July 1, 1982;

       (k)    Excess Umbrella Policy No. SRX 1891281 with a policy period of January 1, 1983
              to December 31, 1983;

       (1)    Excess Umbrella Policy No. SRX 1891462 with policy period of December 31, 1983
              to December 31, 1984;

       (m)    Excess Umbrella Policy No. SRX LX1891757 with policy period of December 31,                .
              1984 to December 31, 1985;

       (n)    Excess Umbrella Policy No. SRX LX9991522 and LX9991523 with policy periods
              of December 31, 1987 to December 31, 1988; and

       (o)    Excess Umbrella Policy No. CBP9992285 with a policy period of December 31,
              1988 to December 31, 1991.

                                                 10.

       Travelers issued various liability insurance policies, which, subject to their terms,

conditions, limitations and exclusions, insure NID and pursuant to which, if NID be found liable

herein, Travelers is or will be obligated to indemnify NID and/or be liable to plaintiffs directly for

all or part of Plaintiffs' principal demands herein against NID, including without limitation the

following (the "Travelers Policies"):

       (a)   Primary Policy No. 02 GL 460836 SCA with a policy period of December 31, 1984
             to December 31, 1985;

       (b)   Primary Policy No. 02 GL 460853 SCA with a policy period of December 31, 1985
             to December 31, 1986

       (c)   Primary Policy No. 02 GL 460863 SCA with a policy period of December 31, 1986
             to December 31, 1987;

       (d)   Policy No. #02XS5469SCA with a policy period of December 31, 1984 to December
             31,1985;

       (e)   Policy No. 027X5486SCA with a policy period of December 31, 1986 to December
             31, 1987; and

       (f)   Policy No. 02XN11 I SCA with a policy period of December 31, 1986 to December
             31, 1987.

                                                 11.

       FFIC issued various liability insurance policies, which, subject to their terms, conditions,

limitations and exclusions, insure NID and pursuant to which, if NID be found liable herein, FFIC

is or will be obligated to indemnify NID (and/or be liable to plaintiffs directly) for all or part of

Plaintiffs' principal demand herein against NID, including without limitation the following (the

"FFIC Policies"):


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           (a)   CGL Policy No. KXC80327799 with policy period of December 31, 1994 to
                 December 31, 1995;
           (b)   CGL Policy No. XXC80353700 with policy period of March 1, 1997 to March 1,
                 1998;
.          (c)   CGL Policy No. KXC80363220 with policy period of March 1, 1998 to March 1,
                 1999.
           (d)   Umbrella and Excess Policy No. CSR2163274 with a policy period of December
                 31,1994 to December 31,1995;
           (e)   Excess Policy No. XUO-2010001 with a policy period of December 31,1994 to
                 December 31,1995;
           (f)   Umbrella and Excess Policy No. XSC00067964395 with a policy period of March
                 1,1997 to March 1,1998; and
           (g)   Umbrella and Excess Policy No. XSC00074495102 with a policy period of March
                 1,1988 to March 1,1999.
                                                12.

           Because some or all of the Plaintiffs' allegations of their principal demands, as amended,

    if proven true, would be covered under the policies issued by Third Party Insurer Defendants,

    Plaintiff's allegations herein triggered the Third Party Insurer Defendants' obligations under their

    respective policies to defend NID in this action.

                                                        13.

           NID tendered Plaintiffs' claims to the Third Party Insurer Defendants. In response, Third

    Party Insurer Defendants wrongfully failed and/or refused to perform fully their obligations under

    their insurance policies, including without limitation by disclaiming coverage, by asserting

    reservations of rights without fairly and properly supporting their positions therefore, by failing to

    agree to provide a legal defense for Plaintiffs' instant action and/or by breaching affirmative duties

    to make reasonable efforts to settle Plaintiffs' claims.

                                             COUNTONE:
                                          Declaratory Judgment

                                                      14.

           NID realleges each and every allegation set forth in Paragraphs 1 through 13, inclusive.

                                                        15.

           An actual controversy has arisen and now exists between NID and each Third Party

    Defendant relating to the duty of each to honor and perform its insurance policies. Declaratory

judgment is, therefore, necessary, and NID asks for a declaratory judgment, defining the rights of

    NID and obligations of each Third Party Insurer Defendant under each of its liability policies

    insuring NID, including without limitation: the scope of the insurance coverages provided thereby,

    the applicability or inapplicability of asserted policy exclusion(s) (including the so called


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"pollution exclusions"), the applicability or inapplicability of asserted self-insured retentions, each

Third Party Defendant's obligation to provide a defense or contribute to defense costs and

expenses herein, and with regard to any potential liability of NID to the Plaintiffs which may be

determined at the trial of the principal demand herein, and the measure and the amount of

indemnity for same under the applicable policies.

                                          COUNT TWO:
                                       Breaches of Contracts

                                                  16.

        NID realleges each and every allegation set forth in Paragraphs 1 through 15 inclusive.

                                                  17.

        Each liability policy issued by Third Party Insurer Defendant is a binding insurance

contract by and between it and NID.

                                                  18.

        Continental breached the insurance contracts between it and NID by wrongfully failing or

refusing to perform fully its obligation(s) under the Continental Policies in various respects,

including by asserting and maintaining reservations of rights positions that were not supported by

facts or law and which Continental failed to properly explain and justify to its insured, and also by

breaching its affirmative duties to make reasonable efforts to settle Plaintiffs' claims.

                                                  19.

        Travelers breached the insurance contracts between it and NID by wrongfully failing or

refusing to perform fully its obligation(s) under the Travelers Policies in various respects,

including; (i) by asserting and maintaining reservations of rights positions not supported by facts

or law (ii) arbitrarily and wrongfully asserting and maintaining the applicability of the pollution

exclusion in the Travelers Policies, (ii) arbitrarily and capriciously disclaiming all of its defense

and indemnity obligations under Policy No. 02 GL 460853 SCA (12/31/85-12/31/86) and Policy

No. 02 GL 460863 SCA (12/31/86-12/31/87), (iii) arbitrarily, capriciously and prematurely

disclaiming all defense and indemnity obligations for certain specific identified plaintiffs before

those plaintiffs fmished discovery or presented their claims and evidence at trial; and (iv) failing

to take prompt, reasonable steps in good faith to settle claims with plaintiffs.

                                                  20.

        NID has complied with the terms and conditions of the policies insuring it issued by the

Third Party Insurer Defendants. NID paid all premiums on each policy; NID provided each Third
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Party Insurer Defendant with notice; and all conditions precedent to NID's right to recover under

each policy have been met, satisfied, or waived.

                                                 21.

        Each Third Party Insurer Defendant wrongfully denied or failed to provide full coverage

to NID for Plaintiffs' claims herein and in so doing breached its policy by failing to fully or timely

perform its obligations thereunder.

                                                 22.

        By reason of the premises, NID is entitled to recover from each Third Party Insurer

Defendant damages for breach of contract in an amount to be shown at trial. Alternatively, NID

is entitled to specific performance of each policy.

                                                 23.

        Should NID be found legally liable to Plaintiffs herein at trial, NID is entitled to indemnity

from the Third Party Insurer Defendants under the terms of their policies and/or entry of a

judgment ordering the Third Party Insurer Defendants to pay such claims on NID's behalf.

                                                 24.

        Although the law charged Continental and Travelers with affirmative duties to investigate

the facts of the claims on their own, in good faith, especially if they intended to assert exclusions

to coverage, Continental and Travelers failed to properly investigate the facts and the scope of

coverage relating to this claim and thereby violated their legal duties in asserting various coverage

positions, including delaying and/or failing in performance of their duties to reasonably investigate

claims made, to promptly correspond and cooperate with their insured in make informed decisions

about coverage and the applicable self-insured retention(s), in wrongfully asserting the pollution

exclusion as precluding coverage under the policies, and in failing to promptly take steps in good

faith to settle claims with plaintiffs.

                                                 25.

        Although required by law to do so, Travelers failed to take substantive and affirmative

steps to accumulate the facts necessary to properly analyze the allegations of the Petition or

properly evaluate the claim(s) therein. Travelers failed to demonstrate requisite good faith and

willingness to comply with the duties imposed upon them under Policy No. 02 GL 460853 SCA

(12/31/85-12/31/86) and Policy No. 02 GL 460863 SCA (12/31/86-12/31/87).

                                                 26.


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       In breaching their legal duties Continental and Travelers breached their corollary duties of

good faith as contemplated by Articles 1759, 1983, 1996, and 1997 of the Louisiana Civil Code

and other applicable laws, thereby making Continental and Travelers, liable to NID for all

foreseeable and unforeseeable damages that their conduct caused NID.

                                      COUNT THREE:
                               Extra-Contractual Liability for
                              Damages, Penalties, and Attorneys'
                                Fees under Louisiana Title 22
                                                27.

       NID realleges and reavers each of the allegations set forth in Paragraphs 1 through 26,

inclusive.

                                                28.

       Travelers acted with actual knowledge and/or reckless disregard of the lack of reasonable

basis: (i) in asserting the pollution exclusion arbitrarily and without cause; (ii) in disclaiming

coverage under Policy No. 02 GL 460853 SCA (12/31/85-12/31/86) and Policy No. 02 GL 460863

SCA (12/31/86-12/31/87), (iii) in ignoring or declining its insured's requests for an explanation

for its improper coverage positions, (iv) in delaying and/or denying a legal defense for NID for

Plaintiffs' claims under Policy No. 02 GL 460853 SCA (12/31/85-12/31/86) and Policy No. 02

GL 460863 SCA (12/31/86-12/31/87), (iv) in failing to conduct a reasonable investigation into the

claims and failing to reasonably evaluate the available information; (v) in failing to take required

substantive and affirmative steps to accumulate the facts necessary to evaluate Plaintiffs' claims;

(vi) in failing to carry out its affirmative duties to verify, through a reasonable investigation,

whether Plaintiffs' claim against NID were actually excluded from coverage, (vii) in choosing to

resist its contractual obligations to NID based upon supposed defenses which a reasonable

investigation would have proved to be without merit, and (viii) in erring in interpreting its own

insurance contracts and therefore unreasonably denying or delaying the payment of claims.

                                                29.

        Continental acted with actual knowledge and/or reckless disregard ofthe lack ofreasonable

basis: (i) in asserting the pollution exclusion arbitrarily and without cause; (ii) in ignoring or

delaying its response regarding its insured's communications and requests for information and

policies issued by Continental liability policies incepting on or after January 1, 1989, (iii) in

ignoring or delaying its response regarding NID's tenders of plaintiff's claims under liability

policies incepting on or after January 1, 1989, (iv) in ignoring or declining its insured's requests


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for an explanation for its improper coverage positions, (v) in failing to conduct a reasonable

investigation into the claims and failing to reasonably evaluate the available information; (vi) in

failing to take required substantive and affirmative steps to accumulate the facts necessary to

evaluate Plaintiffs' claims; (vii) in choosing to resist its contractual obligations to NID based upon

supposed defenses and improper assessments regarding the number and amount of self-insured

retentions which a reasonable investigation would have proved to be without merit, and (viii) in

erring in interpreting its own insurance contracts and therefore unreasonably denying or delaying

the payment of claims.

                                                 30.

       The foregoing acts and omissions, as well as Travelers' and Continental's overall handling

of NID's tenders and requests for defense, indemnity, information, copies of policies, cooperation,

and settlement authority for it appointed defense counsel, were arbitrary, capricious, and without

probable cause and amounted to a failure by Travelers and Continental to comply with their

statutory obligations under Louisiana Revised Statutes §§ 22:1892 and 22:1973.

                                                 31.

       NID is entitled to damages, penalties, and attorneys' fees based on the failures and/or

delays of Travelers in responding to the claim(s), and Travelers' AND Continental's arbitrary and

capricious refusal to honor their contractual obligations with respect thereto.                  .

                                             PRAYER

        WHEREFORE, Defendant/Third Party-Plaintiff, NID Corporation, prays:

    A. That Third Party Insurer Defendants, The Continental Insurance Company, Travelers

        Casualty and Surety Company, and Fireman's Fund Insurance Company, be duly cited and

        served with citation and a certified copy of this copy of this Third Party Petition, as well

        as the underlying Plaintiff's Petition and all amendments thereto;

    B. That there be judgment dismissing Plaintiffs' claims against NID Corporation with

        prejudice at Plaintiffs' sole cost; alternatively, should NID be found legally liable to

        Plaintiffs herein at trial, NID prays for a judgment awarding it indemnity from the Third

        Party Insurer Defendants under the terms of their insurance policies and/or entry of a

        judgment ordering the Third Party Insurer Defendants to pay such claims on NID's behalf

        in accordance with their policies.




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C. That after due proceedings be had, that there be judgment rendered herein declaring the

   rights of NID Corporation and the obligations of the Third Party Insurer Defendants, The

   Continental Insurance Company, Travelers Casualty and Surety Company, and Fireman's

   Fund Insurance Company, under each of their issued insurance policies with respect to its

   construction, the insurance coverage provided thereunder for NID with respect to

   Plaintiff's claims herein, NID's right to a legal defense and payment of insurance proceeds

   for Plaintiffs' claims, and the measure and the amount of same, and that the Third Party

   Insurer Defendants are obligated to provide NID a full and complete legal defense and

   indemnity of Plaintiffs' claims in accordance with the terms of the policies and the law;

D. That after due proceedings be had, that there be judgment entered herein in favor of

   Defendant/Third Party-Plaintiff, NID Corporation and against Third Party Insurer

   Defendants, The Continental Insurance Company, Travelers Casualty and Surety

   Company, and Fireman's Fund Insurance Company, awarding NID damages in an amount

   to be shown at trial plus interest or specific performance for breach of each insurance

   contract.

E. That after due proceedings be had, that there be judgment entered herein in favor of

   Defendant/Third Party-Plaintiff, NID Corporation and against Third Party-Defendants,

   finding that The Continental Insurance Company and Travelers Casualty and Surety

   Company breached their duties of good faith as contemplated by Articles 1759, 1983, 1996,

   and 1997 of the Louisiana Civil Code and other applicable laws and therefore making them

   additionally liable to NID for all foreseeable and unforeseeable damages that their

   wrongful conduct caused NID;

F. That after due proceedings be had, that there be judgment entered herein in favor of

   Defendant/Third Party-Plaintiff, NID Corporation and against Third Party-Defendants,

   Travelers Casualty and Surety Company and The Continental Insurance Company,

   awarding NID statutory penalties and attorneys' fees under Title 22 based on the arbitrary

   and capricious failures and claims handling of Travelers Casualty and Surety Company in

   connection with its refusal to honor its insurance contracts.

G. For recovery of all such other and further general and specific relief in law or equity as the

   justice of this cause may require and permit.




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Filed this 1" day of March 2024.

                                     Respect   ly ubmi d,



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                                     (for insurance claims)




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                                    CERTIFICATE OF SERVICE

         I certify that a copy of the foregoing pleadings has been served via email and/or via United

States Mail, properly addressed, and postage prepaid this 1st day of March 2024, on all counsel of

record in this proceeding.

                                                               /     .

PLEASE ISSUE CITATION TO, AND SERVE THIS THIRD PARTY PETITION AND
REQUEST FOR PRODUCTION, ALONG WITH CERTIFIED COPIES OF THE
PETITION, AMENDED PETITION, SECOND AMENDED PETITION, THIRD
AMENDED PETITION AND FOURTH AMENDED PETITION, ON:

              (a) Continental Insurance Company
                  c/o its agent for service of process:
                  Louisiana Secretary of State
                  8585 Archives Ave.
                  Baton Rouge, LA 70809

              (b) Travelers Casualty and Surety Company
                  c/o its agent for service of process:
                  Louisiana Secretary of State
                  8585 Archives Ave.
                  Baton Rouge, LA 70809

              (c) Fireman's Fund Insurance Company
                  c/o its agent for service of process:
                  Louisiana Secretary of State
                   8585 Archives Ave.
                   Baton Rouge, LA 70809


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